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            EXHIBIT A
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Bosman Law, LLC                                                                                   INVOICE
3000 McConnellsville Road                                                                               Invoice # 71
Blossvale, New York 13308                                                                          Date: 04/29/2024
United States                                                                                    Due On: 05/29/2024


KERI & EUGENE SPRING
44 N. 5TH STREET
Allegany, NY 14706-1109

00205-SPRING

SPRING V. ALLEGANY-LIMESTONE SCHOOL DISTRICT

   Date                                 Notes                               Office   Quantity   Rate        Total
                                                                            Staff

 08/16/2013   Received and reviewed correspondence from Client              AF          0.10    $150.00     $15.00
              concerning facts of the case

 08/30/2013   Conferred with principal attorney regarding case;             AF          0.50    $150.00     $75.00
              Drafted correspondence to Ms. Spring concerning
              retainer agreements and preparation of a Notice of
              Claim; Received and reviewed response from Ms.
              Spring

 08/30/2013   Conferred with paralegal regarding case; Reviewed             AJB         0.25    $500.00    $125.00
              correspondence to Ms. Spring concerning retainer
              agreements and preparation of a Notice of Claim

 09/02/2013   Letter: Drafted and revised Retainer Agreement                AJB         0.50    $500.00    $250.00

 09/08/2013   Review: Reviewed documents provided by Ms. Spring             AJB         2.50    $500.00   $1,250.00
              as well as caselaw on bullying and school liability for
              discrimination

 09/09/2013   Review: Reviewed disciplinary referral documents from         AJB         0.10    $500.00     $50.00
              Client pertaining to Gregory Spring

 09/09/2013   Meeting: Consulted with Keri Spring                           AJB         3.50    $500.00   $1,750.00

 09/09/2013   Meeting: Consulted with Keri Spring                           AF          3.50    $150.00    $525.00

 09/09/2013   Review: Reviewed and analyzed documents sent from             AF          2.00    $150.00    $300.00
              the Client, including, but not limited to, online posts,
              disciplinary referrals and education/special education
              records regarding Gregory Spring

 09/10/2013   Review: Continued to review and analyzed documents            AF          1.50    $150.00    $225.00
              sent from the Client, including, but not limited to, online
              posts, disciplinary referrals and education/special
              education records regarding Gregory Spring 09/10/13

 09/11/2013   Review: Revised Retainer Agreement                            AJB         0.25    $500.00    $125.00




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09/11/2013   Review: Continued to review documents sent from the        AJB   1.25      $500.00     $625.00
             Client, including, but not limited to, online posts,
             disciplinary referrals, and education/ special education
             records regarding Gregory Spring

09/11/2013   Preparation: Drafted Notice of Claim; Reviewed             AF    4.10      $150.00     $615.00
             documents provided by Client and conferred/
             corresponded with Client, to prepare said Notice of
             Claim

09/11/2013   Preparation: Rev'd draft notice of claim and edit same;    AJB   2.50      $500.00    $1,250.00
             reviewed documents provided by client and conferred
             with client to edit the notice of claim

09/11/2013   Drafted correspondence to Client concerning draft          AF    0.20      $150.00       $30.00
             Notice of Claim

09/12/2013   Preparation: Corresponded and conferred with Client        AF    1.50      $150.00     $225.00
             concerning the draft Notice of Claim; Revised Notice of
             Claim

09/12/2013   Received and reviewed correspondence from Client           AF    0.50      $150.00       $75.00
             concerning contents of Notice of Claim and suggested
             edits thereto; Drafted correspondence to Client with
             questions to further prepare Notice of Claim and
             received and reviewed response thereto

09/12/2013   Drafted correspondence to Client concerning finalized      AF    0.25      $150.00       $37.50
             Notice of Claim and service thereof on Defendants

09/15/2013   Received and reviewed correspondence from Client           AF    0.15      $150.00       $22.50
             concerning Notice of Claim; Drafted correspondence in
             response thereto

10/31/2013   Notice of Claim: Reviewed correspondence to Defense        AJB   0.10      $500.00       $50.00
             counsel Daniel Cavarello concerning rescheduling
             Plaintiffs' 50-h examination

10/31/2013   Notice of Claim: Conferred with staff regarding            AJB   0.10      $500.00       $50.00
             calendaring and provide instruction to draft email to
             Attorney Cavarello to reschedule 50-h

10/31/2013   Drafted correspondence to Client concerning                AF    0.20      $150.00       $30.00
             Defendants' demand for a 50-h hearing and received
             and reviewed response thereto

11/01/2013   Drafted correspondence to Client concerning date for       AF    0.15      $150.00       $22.50
             50-h examination and received and reviewed response
             thereto

11/08/2013   Drafted correspondence to Client concerning the 50-h       AF    0.20      $150.00       $30.00
             hearing and received and reviewed correspondence in
             response thereto

11/11/2013   Drafted correspondence to Defense counsel                  AF    0.20      $150.00       $30.00
             concerning 50-h examination and received and
             reviewed response thereto




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11/12/2013   Drafted correspondence to Defense counsel's office          AF    0.20      $150.00       $30.00
             concerning 50-h examination and received and
             reviewed response thereto

11/14/2013   Received and reviewed correspondence from Defense           AF    0.75      $150.00     $112.50
             counsel's office concerning Plaintiffs' 50-h examination;
             Conferred with principal attorney regarding same;
             Drafted response correspondence to Defense counsel's
             office

11/14/2013   Conferred with paralegal concerning the 50-h                AJB   0.20      $500.00     $100.00
             examination and discussed potential locations of same

11/15/2013   Drafted correspondence to Client concerning 50-h            AF    0.20      $150.00       $30.00
             examination and received and reviewed response
             thereto

11/18/2013   Drafted correspondence to Client concerning 50-h            AF    0.05      $150.00        $7.50
             examination

12/19/2013   Preparation: Prepared for General Municipal Law 50-h        AJB   2.50      $500.00    $1,250.00
             hearing, including conferring with Clients in advance of
             said hearing

12/20/2013   Discovery: Attended General Municipal Law Sec. 50-h         AJB   4.75      $500.00    $2,375.00
             examination of Plaintiffs

12/20/2013   Travel: Traveled to Rochester from office for GML 50-h      AJB   2.50      $500.00    $1,250.00
             hearing

12/20/2013   Travel: Traveled from Rochester to Rome after 50-h          AJB   2.50      $500.00    $1,250.00
             hearing

12/20/2013   Mileage: Mileage for travel to/from 50-h hearing            AM    1.00      $167.50     $167.50

12/29/2013   Received and reviewed correspondence from Client            AF    0.35      $150.00       $52.50
             attaching report of the Division of Local Government
             and School Accountability for time period 2011 through
             2013; Reviewed said report

02/03/2014   Received and reviewed correspondence from Client            AF    0.25      $150.00       $37.50
             attaching request made to Defendant School District
             under FOIL for e-mails from/to Defendant Straub;
             Drafted correspondence to Client concerning
             commencing legal action for the underlying case

02/07/2014   Drafted second Notice of Claim; Conferred with              AF    1.25      $150.00     $187.50
             principal attorney and Client regarding same

02/11/2014   Postage: Postage for Notice of Claim                        AM    1.00        $20.10      $20.10

02/11/2014   Reviewed and revised second Notice of Claim;                AJB   0.50      $500.00     $250.00
             Conferred with paralegal regarding same

02/12/2014   Received signed verification from Client to the second      AF    1.25      $150.00     $187.50
             Notice of Claim and prepared transmittal letter to
             School District




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03/28/2014   Reviewed file to analyze potential claims; Drafted        AF    0.50      $150.00       $75.00
             correspondence to Client and received and reviewed
             correspondence in response thereto concerning the
             facts of the case

04/07/2014   Continued to analyze potential claims; Conferred with     AF    1.50      $150.00     $225.00
             principal attorney regarding same; Drafted
             correspondence to Client and received and reviewed
             correspondence in response thereto concerning the
             facts of the case

04/07/2014   Conferred with paralegal regarding claims to interpose    AJB   0.50      $500.00     $250.00
             in Complaint

04/10/2014   Received and reviewed correspondence from Client          AF    0.05      $150.00        $7.50
             concerning Greg Spring's girlfriend's current address

05/06/2014   Received and reviewed correspondence from Client          AF    0.25      $150.00       $37.50
             concerning Greg Spring's girlfriend and her and her
             family's current whereabouts; Conferred with principal
             attorney regarding same

05/06/2014   Conferred with paralegal regarding correspondence         AJB   0.25      $500.00     $125.00
             from Client concerning Greg Spring's girlfriend and her
             and her family's current whereabouts; Reviewed said
             correspondence

06/12/2014   Complaint: Began drafting Complaint; Reviewed 50-h        AJB   5.10      $500.00    $2,550.00
             transcript and documents from Client; Conducted legal
             research of potential claims; Drafted correspondence to
             Client concerning Complaint

06/13/2014   Continued drafting Complaint; Researched municipal        AF    0.50      $150.00       $75.00
             liability and New York constitutional protection;
             Received and reviewed correspondence from Client
             concerning draft Complaint

06/13/2014   e-mail: Corresponded with Client concerning status of     AJB   0.25      $500.00     $125.00
             case

06/13/2014   Complaint: Continued drafting Complaint; Researched       AJB   3.25      $500.00    $1,625.00
             caselaw on Rehabilitation Act and ADA; Reviewed
             school records on Gregory Spring

06/14/2014   Complaint: Continued to draft/edit Complaint; Conferred   AJB   6.00      $500.00    $3,000.00
             with Client regarding same

06/17/2014   Complaint: Reviewed, edited, finalized complaint;         RJS   6.50      $250.00    $1,625.00
             Conferred with principal attorney and paralegal
             regarding same - (Daniel Flynn, Esq.)

06/17/2014   Review: Reviewed draft Complaint and conferred with       AF    1.75      $150.00     $262.50
             attorneys regarding same; Prepared Summons and
             Civil Cover Sheet; Tended to filing of the Complaint;
             Received electronic notice confirming filing of same

06/17/2014   Received and reviewed notice of right to consent to       AF    0.15      $150.00       $22.50
             have case decided by a Magistrate Judge; Conferred




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             with principal attorney regarding same; Documented
             case file

06/17/2014   Conferred with paralegal regarding notice of right to        AJB   0.10      $500.00       $50.00
             consent to have case decided by a Magistrate Judge

06/17/2014   Complaint: Reviewed, edited, finalized complaint;            AJB   0.50      $500.00     $250.00
             Conferred with associate attorney and paralegal
             regarding same

06/20/2014   e-mail: Corresponded with staff concerning judicial          AJB   0.25      $500.00     $125.00
             assignment

06/20/2014   Received and reviewed correspondence from Client             AF    0.10      $150.00       $15.00
             concerning witnesses to the underlying facts

06/24/2014   Filing Fee: Filing Fee-USDC-WDNY                             AM    1.00      $400.00     $400.00

06/24/2014   Copying charges: Photocopies - 18 copies of Complaint        AM    1.00      $103.50     $103.50
             for service on Defendants (418 pages)

07/03/2014   Research: Conducted research for legal authority             AF    0.50      $150.00       $75.00
             concerning the issue of liability under the Rehabilitation
             Act

07/06/2014   Documented case files with decree granting                   AF    0.10      $150.00       $15.00
             administration

07/07/2014   Postage: USPS - mailed copies of Summons and                 AM    1.00         $9.60       $9.60
             Complaint to process server

07/09/2014   Process Service: Service of process cost re Defendant        AM    1.00        $35.00      $35.00
             Jacob Roewe

07/27/2014   Received and reviewed Notice of Appearance on behalf         AF    0.25      $150.00       $37.50
             of School District Defendants and motion for leave to
             file Memorandum of Law in excess of page limits;
             Conferred with principal attorney regarding same;
             Documented client file

07/27/2014   Conferred with paralegal regarding Notice of                 AJB   0.10      $500.00       $50.00
             Appearance on behalf of School District Defendants
             and motion for leave to file Memorandum of Law in
             excess of page limits

07/29/2014   Process Service: Service of Process cost re: Defendant       AM    1.00        $39.22      $39.22
             David Farrell

07/29/2014   Process Service: Service of Process cost re: Defendant       AM    1.00        $39.22      $39.22
             Phil Quinlan

07/29/2014   Process Service: Service of process cost re: Defendant       AM    1.00        $60.82      $60.82
             Allegany Limestone Central School District

07/29/2014   Process Service: Service of process cost re: Defendant       AM    1.00        $35.00      $35.00
             Board of Education

07/29/2014   Process Service: Service of Process cost re: Defendant       AM    1.00        $39.22      $39.22




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             Joe Zimmer

07/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $39.22      $39.22
             Maggie Nuss

07/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $37.40      $37.40
             Kevin Straub

07/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $39.22      $39.22
             Diane Lowry

07/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $39.22      $39.22
             Christopher Kenyon

07/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $39.22      $39.22
             Dr. John Wolfgang

07/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $39.22      $39.22
             Robert Decker

07/29/2014   Process Service: Service of process cost re: Defendant     AM    1.00        $39.22      $39.22
             Eric Hemphill

07/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $37.40      $37.40
             Karen Geelan

07/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $74.22      $74.22
             Sue Schifley

07/30/2014   Documented case files with affidavits of service of the    AF    0.20      $150.00       $30.00
             Summons and Complaint on Defendants

07/31/2014   Received and reviewed Text Order granting                  AF    0.05      $150.00        $7.50
             Defendants' motion for leave to file a Memorandum of
             Law in excess of page limit; Conferred with principal
             attorney regarding same

07/31/2014   Conferred with paralegal regarding Text Order granting     AJB   0.05      $500.00       $25.00
             Defendants' motion for leave to file a Memorandum of
             Law in excess of page limit

08/04/2014   Received and reviewed correspondence from Process          AF    0.30      $150.00       $45.00
             Server concerning status of service of process of the
             Complaint on Defendants; Drafted correspondence in
             response thereto

08/05/2014   Reviewed affidavits of service concerning the service of   AF    0.50      $150.00       $75.00
             the Summons and Complaint on Defendants; Tended
             to filing of same using the court's electronic filing
             system

08/05/2014   Received and reviewed correspondence from Defense          AF    0.25      $150.00       $37.50
             counsel's office regarding status of service of the
             Complaint; Reviewed file and drafted response thereto

08/06/2014   Review: Received and reviewed second Notice of             AF    1.00      $150.00     $150.00
             Appearance on behalf of the School District Defendants
             and their Motion to Dismiss the Complaint; Conferred




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             with principal attorney regarding same; Documented
             Client files

08/06/2014   Review: Conferred with paralegal regarding                  AJB   0.50      $500.00     $250.00
             Defendants' motion to dismiss and reviewed same

08/07/2014   Received and reviewed notice from Court referring           AF    0.15      $150.00       $22.50
             case to mediation and the ADR Plan; Conferred with
             principal attorney regarding same; Documented case
             file

08/07/2014   Conferred with paralegal regarding notice from Court        AJB   0.05      $500.00       $25.00
             referring case to mediation and the ADR Plan

08/12/2014   Received and reviewed Text Order referring case to          AF    0.15      $150.00       $22.50
             Magistrate Judge H. Kenneth Schroeder, Jr.; Conferred
             with principal attorney regarding same

08/12/2014   Conferred with paralegal regarding Text Order referring     AJB   0.10      $500.00       $50.00
             case to Magistrate Judge H. Kenneth Schroeder, Jr.

08/12/2014   Received and reviewed correspondence from Client            AF    0.25      $150.00       $37.50
             concerning post service case activity and drafted
             correspondence in response thereto

08/15/2014   Received and reviewed Text Notice scheduling                AJB   0.50      $500.00     $250.00
             deadlines with respect to Defendants' Motion to
             Dismiss; Calendared deadlines; Conferred with
             principal attorney concerning same and the contents of
             Defendants' Motion

08/15/2014   Conferred with paralegal concerning Scheduling Notice       AJB   0.60      $500.00     $300.00
             and the contents of Defendants' Motion to Dismiss;
             Continued review of Defendants' Motion

08/16/2014   Legal research: LexisNexis legal research CALR-             AM    1.00        $21.00      $21.00
             August 09/08/14

08/20/2014   Analyzed Defendants' motion to dismiss; Conducted           AF    6.75      $150.00    $1,012.50
             research into the legal authority cited by Defendants in
             their motion; Began drafting Plaintiff's opposition to
             same; Conferred with principal attorney regarding
             Defendants' motion

08/20/2014   Conferred with paralegal regarding Defendants' motion;      AJB   1.75      $500.00     $875.00
             Reviewed Defendants' motion to dismiss; Reviewed
             legal authority cited by Defendants in their motion

08/21/2014   A103 Draft/revise L430 Written Motions and                  AF    2.50      $150.00     $375.00
             Submissions: Continued drafting Plaintiffs' opposition to
             Defendants' motion to dismiss; Conducted legal
             research for legal authority supporting Plaintiffs'
             arguments and to counter Defendants' arguments;
             Conferred with principal attorney regarding same

08/21/2014   A103 Draft/revise L430 Written Motions and                  AJB   2.75      $500.00    $1,375.00
             Submissions: Conferred with paralegal regarding
             Defendants' motion to dismiss; Reviewed, edited, and




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             continued to draft Plaintiff's opposition to Defendants'
             motion to dismiss

08/22/2014   Motion Response: Revised Plaintiffs' opposition to         AF    4.75      $150.00     $712.50
             Defendants' motion to dismiss, to edit and incorporate
             changes made by principal attorney; Conferred with
             principal attorney regarding same; Reviewed and
             finalized Plaintiffs' Memorandum of Law; Tended to
             filing via the court's electronic filing system

08/22/2014   Motion Response: Conferred with paralegal regarding        AJB   2.00      $500.00    $1,000.00
             Plaintiffs' opposition to Defendants' motion to dismiss;
             Edited Plaintiffs' Memorandum of Law in opposition to
             Defendants' motion

08/28/2014   Process Service: Service of Process cost re: Defendant     AF    1.00        $20.00      $20.00
             Eric Hemphill

08/28/2014   Process Service: Service of process cost re: Defendant     AM    1.00        $62.40      $62.40
             Jacob Roewe

08/28/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $32.40      $32.40
             Jacob Roewe - attempted

08/28/2014   Complaint: Drafted Amended Complaint                       AF    2.50      $150.00     $375.00

08/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $39.22      $39.22
             Jeff Black

08/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $39.22      $39.22
             Jay King

08/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $39.22      $39.22
             Kim Palmer

08/29/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $74.22      $74.22
             Sue Schifley

08/29/2014   Complaint: Continued drafting Amended Complaint;           AF    2.75      $150.00     $412.50
             Conferred with principal attorney regarding same;
             Drafted correspondence with Client regarding same
             and received and reviewed correspondence in
             response thereto; Revised Amended Complaint to
             incorporate changes made by principal attorney;
             Tended to the filing of same

08/29/2014   Complaint: Conferred with paralegal regarding              AJB   1.75      $500.00     $875.00
             Amended Complaint; Revised Amended Complaint

08/29/2014   Received and reviewed forwarded e-mail                     AF    1.00      $150.00     $150.00
             correspondence originally sent to School District
             officials regarding Gregory Spring; Documented case
             file with said correspondence

08/30/2014   Discovery: Reviewed 50-h transcript; Received and          AF    1.50      $150.00     $225.00
             reviewed correspondence from Client regarding
             Defendant Straub's position and qualifications




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08/31/2014   Process Service: Service of Process cost for Kenyon        AM    1.00      $470.64     $470.64
             Wolfgang, Decker, Hemphill, Zimmer, Quinlan, Kahm,
             Black, King, Palmer, Nuss, Lowry,

08/31/2014   Process Service: Service of Process cost on Defendant      AM    1.00        $60.85      $60.85
             Allegany-Limestone School District

08/31/2014   Process Service: Service of process cost on Defendant      AM    1.00        $35.00      $35.00
             Board of Education

08/31/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $37.40      $37.40
             Kevin Straub

09/03/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $20.00      $20.00
             Eric Hemphill

09/03/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $62.40      $62.40
             Jacob Roewe

09/03/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $32.40      $32.40
             Jacob Roewe

09/03/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $32.40      $32.40
             Michael Easton 09/03/14

09/03/2014   Process Service: Service of process cost re: Defendant     AM    1.00        $32.40      $32.40
             Micheal Easton - attempted

09/03/2014   Documented case files with affidavits of service and       AF    0.20      $150.00       $30.00
             due diligence with respect to service of the Summons
             and Complaint

09/08/2014   Process Service: Service of Process cost re: Defendant     AM    1.00        $61.82      $61.82
             David Ferrel

09/09/2014   Received and reviewed Defendants' second motion for        AF    0.15      $150.00       $22.50
             leave to file a Memorandum of Law in excess of page
             limit; Conferred with principal attorney regarding same;
             Documented Client file

09/09/2014   Conferred with paralegal regarding Defendants' second      AJB   0.05      $500.00       $25.00
             motion for leave to file a Memorandum of Law in
             excess of page limit

09/10/2014   Received and reviewed Text Order granting                  AF    0.10      $150.00       $15.00
             Defendants' Motion to file a Memorandum of Law in
             excess of page limit; Conferred with principal attorney
             regarding same

09/10/2014   Conferred with paralegal regarding Text Order granting     AJB   0.05      $500.00       $25.00
             Defendants' Motion to file a Memorandum of Law in
             excess of page limit

09/12/2014   Received and reviewed Defendants' motion to dismiss;       AF    0.75      $150.00     $112.50
             Conferred with principal attorney regarding same;
             Documented case file

09/12/2014   Received and reviewed Defendants' motion to dismiss;       AJB   1.00      $500.00     $500.00




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             Conferred with paralegal regarding same

09/17/2014   Received and reviewed Scheduling Notice setting            AF    0.40      $150.00       $60.00
             deadline to respond to Defendants' second Motion to
             Dismiss; Calendared deadlines; Conferred with
             principal attorney regarding deadlines and the contents
             of Defendants' motion; Documented Client files

09/17/2014   Conferred with paralegal regarding deadline to respond     AJB   0.20      $500.00     $100.00
             to Defendants' Motion to Dismiss and the contents of
             Defendants' motion

09/19/2014   Legal research: LexisNexis CARL Legal Research             AM    1.00        $25.23      $25.23
             November 12/01/14

09/25/2014   Drafted correspondence to Client regarding motion          AF    0.25      $150.00       $37.50
             practice in the case and received and reviewed
             response thereto

09/27/2014   Motion Response: Analyzed Defendants' motion to            AF    5.00      $150.00     $750.00
             dismiss Plaintiffs' Amended Complaint; Conducted
             legal research into the cases cited by Defendants;
             Began drafting Plaintiffs' opposition papers; Conferred
             with principal attorney regarding same

09/27/2014   Motion Response: Reviewed Defendants' motion to            AJB   2.50      $500.00    $1,250.00
             dismiss Plaintiffs' Amended Complaint and the cases
             cited therein; Conferred with paralegal regarding same;
             Continued drafting Plaintiffs' Memorandum of Law in
             opposition to Defendants' motion

09/28/2014   Motion Response: Continued to draft Plaintiffs'            AF    4.00      $150.00     $600.00
             opposition papers to Defendants' motion to dismiss;
             Conferred with principal attorney regarding same

09/28/2014   Motion Response: Reviewed and revised Plaintiffs'          AJB   3.50      $500.00    $1,750.00
             Memorandum of Law in opposition to Defendants'
             motion to dismiss; Continued to review cases cited by
             Defendants and conducted legal research for counter
             authority; Conferred with paralegal regarding same

09/29/2014   Motion Response: Continued to draft Plaintiffs'            AF    5.75      $150.00     $862.50
             opposition papers to Defendants' motion to dismiss;
             Conferred with principal attorney regarding same and
             extension request

09/29/2014   Motion Response: Conferred with paralegal regarding        AJB   1.50      $500.00     $750.00
             Plaintiffs' opposition to Defendants' motion to dismiss;
             Reviewed and edited draft of same; Drafted extension
             request letter

10/01/2014   Motion Response: Conferred with principal attorney         AF    2.00      $150.00     $300.00
             regarding extension request/motion and Plaintiffs'
             opposition papers to Defendants' motion to dismiss;
             Revised Plaintiff's opposition to incorporate changes
             made by principal attorney; Finalized said opposition
             and tended to filing of same




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10/01/2014   Reviewed and revised Plaintiffs' opposition papers to         AF    3.50      $150.00     $525.00
             Defendants' motion to dismiss; Drafted and revised
             Plaintiffs' motion for an extension to file said opposition
             papers; Conferred with paralegal regarding same

10/03/2014   Received and reviewed Defendants' opposition to               AF    0.20      $150.00       $30.00
             Plaintiff's Motion for an extension of time to file
             opposition to Defendants' motion to dismiss; Conferred
             with principal attorney regarding same; Document
             Client file

10/03/2014   Reviewed Defendants' opposition to Plaintiff's Motion         AJB   0.15      $500.00       $75.00
             for an extension of time to file opposition to Defendants'
             motion to dismiss; Conferred with paralegal regarding
             same

10/06/2014   Received and reviewed Text Order granting Plaintiff's         AF    0.75      $150.00     $112.50
             motion for an extension to file opposition to Defendants'
             Motion to Dismiss; Conferred with principal attorney
             regarding same; Assembled Plaintiff's opposition
             papers and tended the filing of same

10/06/2014   Conferred with paralegal regarding Text Order granting        AJB   0.10      $500.00       $50.00
             Plaintiff's motion for an extension to file opposition to
             Defendants' Motion to Dismiss and directed paralegal
             to file opposition papers

10/07/2014   Received and reviewed Defendants' Motion for an               AF    0.20      $150.00       $30.00
             extension of time and page limit with respect to their
             reply; Conferred with principal and associate attorney
             regarding same; Correspondence with Client regarding
             Plaintiffs' opposition papers

10/07/2014   Conferred with paralegal regarding Defendants' Motion         AJB   0.05      $500.00       $25.00
             for an extension of time and page limit with respect to
             their reply

10/09/2014   Process Service: Service of Process cost re: Defendant        AM    1.00        $35.00      $35.00
             Roewe via parent

10/09/2014   Process Service: Service of Process cost: Defendant           AM    1.00        $35.00      $35.00
             Michael Easton

10/09/2014   Process Service: Service of Process cost re: Defendant        AM    1.00      $100.60     $100.60
             Micheal Easton

10/17/2014   Received and reviewed Defendants' Reply to Plaintiff's        AF    2.00      $150.00     $300.00
             opposition to their motion to dismiss; Researched
             cases cited therein and conferred with principal
             attorney regarding same

10/17/2014   Reviewed and analyzed Defendants' Reply to Plaintiff's        AJB   1.50      $500.00     $750.00
             opposition to their motion to dismiss; Reviewed cases
             cited therein and conferred with paralegal regarding
             same

10/27/2014   e-mail: Corresponded with Client concerning                   AJB   0.20      $500.00     $100.00
             Defendants' motions to dismiss and current status of




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             case

11/09/2014   Research: Conducted research for legal authority         AF    0.50      $150.00       $75.00
             concerning the issue of IIED and suicide

11/14/2014   Process Service: Service of Process cost: Defendant      AM    1.00        $70.00      $70.00
             Eric Hemphill attempted

12/24/2014   Received and reviewed correspondence from Client         AF    0.10      $150.00       $15.00
             regarding Superintendent Geelan and suicides at the
             Allegany-Limestone School District

01/30/2015   Received and reviewed correspondence from Client         AF    1.25      $150.00     $187.50
             concerning Defendants' motions to dismiss; Reviewed
             file and drafted extensive correspondence to Client in
             response thereto

02/28/2015   Received and reviewed correspondence from Client         AF    0.10      $150.00       $15.00
             regarding other student victims at the Allegany-
             Limestone Central School District

04/15/2015   Received and reviewed correspondence from Client         AF    0.15      $150.00       $22.50
             regarding status of case and drafted response thereto

08/04/2015   Received and reviewed correspondence from Client         AF    0.20      $150.00       $30.00
             regarding status of case and drafted response thereto

08/11/2015   A104 Review/analyze L140 Document/File                   AF    0.25      $150.00       $37.50
             Management: Print & Review Docket

10/01/2015   Review: Received and reviewed Court's Decision and       AF    1.00      $150.00     $150.00
             Judgment; Conferred with principal attorney and Client
             regarding same

10/01/2015   Review: Received and reviewed Court's Decision and       AJB   1.00      $500.00     $500.00
             Judgment; Conferred with paralegal and Client
             regarding same

10/02/2015   Conferenced with Client regarding Court's Decision and   AJB   0.50      $500.00     $250.00
             Order granting Defendants' motions to dismiss and next
             steps

10/03/2015   Drafted correspondence to Client regarding Court's       AF    0.25      $150.00       $37.50
             Decision and Order and received and reviewed
             response thereto

10/27/2015   Motion: Conducted legal research into the issue of       AF    4.50      $150.00     $675.00
             disability; Drafted proposed second amended
             complaint; Conferred with principal attorney regarding
             motion to vacate judgment and amend complaint

10/27/2015   Motion: Conferred with paralegal regarding motion to     AJB   0.25      $500.00     $125.00
             vacate judgment and amend complaint

10/28/2015   Motion: Drafted motion to vacate judgment and amend      AF    3.25      $150.00     $487.50
             complaint; Revised proposed second amended
             complaint; Conferred with principal attorney regarding
             motion




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10/28/2015   Motion: Conferred with paralegal regarding motion to        AJB   1.50      $500.00     $750.00
             vacate judgment and amend complaint; Reviewed case
             authority to support said motion; Reviewed and revised
             draft proposed second amended complaint and draft
             Memorandum of Law

10/29/2015   Motion: Revised and finalized Plaintiff's motion to         AF    4.00      $150.00     $600.00
             vacate judgment and amend complaint, including
             revising proposed proposed second amended
             complaint and supporting Memorandum of Law to
             incorporate changes made by principal attorney;
             Conferred with principal attorney regarding motion;
             Tended to filing of said motion

10/29/2015   Motion: Conferred with paralegal regarding motion to        AJB   3.50      $500.00    $1,750.00
             vacate judgment and amend complaint; Revised
             plaintiff's motion papers, including continuing to revise
             second amended complaint

12/04/2015   Conferred with principal attorney regarding preparation     AF    0.50      $150.00       $75.00
             of Notice of Appeal; Drafted Notice of Appeal and
             tended to filing of same

12/04/2015   Filing Fee: Filing Fee for Second Circuit Notice of         AM    1.00      $505.00     $505.00
             Appeal

12/04/2015   Conferred with paralegal regarding preparation of           AJB   0.15      $500.00       $75.00
             Notice of Appeal

12/07/2015   Received series of text notices and entries from            AF    0.25      $150.00       $37.50
             Second Circuit opening appellate matter; Documented
             case file with same

12/09/2015   Received and reviewed Notice of Appearance on behalf        AF    0.10      $150.00       $15.00
             of Defendants; Documented case file with same

12/17/2015   Research: Conducted research for legal authority            AF    0.50      $150.00       $75.00
             concerning similar case: WDNY Delano v. Buffalo

12/18/2015   Tended to filing of Form C and D via electronic filing      AF    0.10      $150.00       $15.00
             system

12/18/2015   A103 Draft/revise L320 Document Production:                 AF    2.50      $150.00     $375.00
             Prepared and filed Form C, including statement of
             facts, nature of matter, list of counsel, and proposed
             issues to be raised on appeal

12/18/2015   Prepared and filed Form D                                   AF    0.20      $150.00       $30.00

12/18/2015   Drafted Designation of Record on Appeal; Conferred          AF    1.00      $150.00     $150.00
             with principal attorney regarding same

12/18/2015   Prepared Notice of Appearance for Plaintiffs; Conferred     AF    0.75      $150.00     $112.50
             with principal attorney regarding same; and perfection
             of the appeal; Tended to the filing of the Notice of
             Appearance

12/18/2015   Conferred with paralegal regarding Notice of                AJB   0.80      $500.00     $400.00




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             Appearance, Forms C and D, and Designation of
             Record on Appeal on behalf of Plaintiffs at the Second
             Circuit as well as the perfection of the appeal;
             Reviewed said Notice of Appearance

12/18/2015   Drafted correspondence to Client regarding motion to         AF    0.50      $150.00       $75.00
             vacate judgment and amend complaint and received
             and reviewed response thereto

12/22/2015   Received and reviewed Notice of Filing from Second           AF    0.20      $150.00       $30.00
             Circuit, together with a Electronic Index constituting the
             Record on Appeal; Documented client file with same

01/25/2016   A103 Draft/revise L320 Document Production: Drafting         AF    2.10      $150.00     $315.00
             brief on appeal

01/25/2016   A103 Draft/revise L510 Appellate Motions and                 AF    3.50      $150.00     $525.00
             Submissions: assembled documents for appendix;
             began preparation of appendix

01/27/2016   A103 Draft/revise L520 Appellate Briefs: Document:           AJB   2.20      $500.00    $1,100.00
             Statement of facts section appellate brief

01/27/2016   A103 Draft/revise L520 Appellate Briefs: Continued           AF    1.75      $150.00     $262.50
             preparation of Appendix

01/27/2016   Research: Conduct research for legal authority               AJB   5.10      $500.00    $2,550.00
             concerning issue of amendment of pleadings, definition
             of disabled" and substantive due process

01/28/2016   Research: Additional research & conferred with AJB re:       AF    6.20      $150.00     $930.00
             research for legal authority concerning issue of
             amendment of pleadings, definition of disabled" and
             subst.due process & equal protection, retaliation,
             monell liability, and new york constitutional and
             common law claims; completed special appx table of
             contents

01/28/2016   A103 Draft/revise L520 Appellate Briefs: Continued           AJB   2.60      $500.00    $1,300.00
             draft of brief, incorporating statement of facts and
             summary of proceedings below, conference w/AF
             regarding same

01/29/2016   Document: table of contents & authorities.pdf                AF    0.25      $150.00       $37.50
             updated table of contents

01/29/2016   A103 Draft/revise L520 Appellate Briefs: Continued           AF    3.75      $150.00     $562.50
             drafting brief, incorp/add arguments re: viability of
             Plaintiff's rehab. ada' and subst Due Process claims

01/29/2016   A105 Communicate (in firm) L520 Appellate Briefs:            AF    0.40      $150.00       $60.00
             Conferred with principal atty re: draft brief and appx.

01/29/2016   A105 Communicate (in firm) L520 Appellate Briefs:            AJB   0.40      $500.00     $200.00
             Conferred with paralegal and staff re: draft brief and
             appx.

01/29/2016   A103 Draft/revise L520 Appellate Briefs: Review and          AJB   1.60      $500.00     $800.00




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             edits of draft brief - sections on stmt of facts and
             proceedings below

01/29/2016   A103 Draft/revise L520 Appellate Briefs: Reviewed             AJB   1.80      $500.00     $900.00
             legal research cases from paralegal

01/30/2016   A103 Draft/revise L520 Appellate Briefs: Reviewed             AJB   3.10      $500.00    $1,550.00
             Dismiss, Reconsideration and Amend motion papers in
             appx and reviewed caselaw contained in decisions
             below.

02/01/2016   Document: Brief 2.1.16.wpd                                    AJB   2.60      $500.00    $1,300.00
             Typing, fixing and reviewing document

02/01/2016   Document: Brief 2.1.16 Secondary review and proofing          AF    1.34      $150.00     $201.00
             of document

02/01/2016   Appeal: Document: SPECIAL APPENDIX TABLE OF                   AF    0.25      $150.00       $37.50
             CONTENTS to type and revise

02/01/2016   e-mail: from AF fwd revised argument section of               AJB   0.10      $500.00       $50.00
             appellate brief re ADA and RA

02/01/2016   Appeal: review of brief                                       AJB   0.75      $500.00     $375.00

02/01/2016   Appeal: review of argument section                            AJB   0.50      $500.00     $250.00

02/01/2016   A103 Draft/revise L520 Appellate Briefs: Continued            AJB   3.10      $500.00    $1,550.00
             draft/edit of brief & caselaw

02/01/2016   A103 Draft/revise L520 Appellate Briefs: Reviewed,            AF    1.00      $150.00     $150.00
             again revised, and finalized appendix

02/01/2016   A103 Draft/revise L520 Appellate Briefs: Conferred with       AF    1.25      $150.00     $187.50
             principal atty regarding brief and edits thereto

02/01/2016   A103 Draft/revise L520 Appellate Briefs: Revised brief,       AF    1.50      $150.00     $225.00
             to incorporate chges requested by principal atty

02/01/2016   A103 Draft/revise L520 Appellate Briefs: Reviewed,            AF    5.50      $150.00     $825.00
             proofed, and finalized brief including adding reference
             to page citations and prep of table of contents and table
             of authorities

02/01/2016   A103 Draft/revise L520 Appellate Briefs: Continued            AJB   3.25      $500.00    $1,625.00
             revision of app. brief, corrections and additions,

02/01/2016   A103 Draft/revise L520 Appellate Briefs: Conferred with       AJB   0.40      $500.00     $200.00
             AF re: needed edits and additions to brief

02/01/2016   A103 Draft/revise L520 Appellate Briefs: Tended to the        AF    0.40      $150.00       $60.00
             filing of brief, appx, & special appx via 2d Cir electronic
             filing system

02/02/2016   Appeal: Assembled 6 paper copies of appendices and            AF    2.40      $150.00     $360.00
             brief for 2d circuit; drafted letter to Circuit clerk

03/04/2016   Appeal: Receive and review responsive brief from Defs         AJB   0.80      $500.00     $400.00




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03/07/2016   Appeal: Reviewed and analyzed Def's Responsive brief        AF     2.10      $150.00     $315.00
             and researched caselaw

03/07/2016   Appeal: Reviewed and discussed def's Responsive             AJB    0.75      $500.00     $375.00
             brief w/ paralegal

03/07/2016   Appeal: Reviewed and discussed def's Responsive             AF     0.75      $150.00     $112.50
             brief w/ principal atty

03/08/2016   Appeal: Researched legal authority (21 of 71 cases)         AJB    3.32      $500.00    $1,660.00
             cited by Def's in responsive brief

03/09/2016   Appeal: Conference with paralegal re: legal authority       AJB    0.75      $500.00     $375.00
             relied on by Defs in their Responsive brief

03/09/2016   Appeal: Conference with atty re: legal authority relied     AF     0.75      $150.00     $112.50
             on by Defs in their Responsive brief

03/09/2016   Appeal: Began drafting reply brief                          AF     2.50      $150.00     $375.00

03/10/2016   Appeal: Continue drafting reply brief & confer with AJB     AF     0.80      $150.00     $120.00
             re: pleading standards

03/10/2016   Appeal: Conferred with paralegal re: Reply Brief and        AJB    0.40      $500.00     $200.00
             pleadings

03/14/2016   Appeal: Continue drafting reply brief sections              AF     2.00      $150.00     $300.00
             addressing NY common law, ada and rehab claims &
             check updated caselaw

03/15/2016   Review: Appeal: review and analysis of Def's response       AJB    2.60      $500.00    $1,300.00
             brief and cases cited therein and how to address

03/16/2016   Review: Continued to draft reply brief. review and          AF     1.00      $150.00     $150.00
             revise

03/16/2016   Appeal: Conference with principal atty re: Defs             AF     0.60      $150.00       $90.00
             response brief and draft reply brief

03/16/2016   Appeal: Conference with paralegal re: Defs response         AJB    0.60      $500.00     $300.00
             brief and draft reply brief and edits

03/16/2016   Appeal: Reviewing and revising draft reply brief            AJB    1.80      $500.00     $900.00

03/16/2016   Received and reviewed Oral Argument Statement filed         AF     0.10      $150.00       $15.00
             by Defendants; Documented client file with same

03/17/2016   Appeal: continued draft and edits of reply brief &          AF     4.00      $150.00     $600.00
             researched for legal authority re: amendments post-
             judgment and disability

03/18/2016   Appeal: Review re: Oral argument statement 12-2011,         AJB    0.30      $500.00     $150.00
             review of calendar and confer with staff

03/18/2016   Appeal: Review, revise and finalize reply brief including   AF    11.40      $150.00    $1,710.00
             reference to record and case citations and draft table of
             contents and table of authorities; confer with principal
             atty regarding same.




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03/18/2016   Appeal: Confer with AF, check cases, review revisions      AJB   6.25      $500.00    $3,125.00
             and add/review edits of final Reply brief

03/18/2016   Appeal: Tended to filing of Reply brief via the 2d cir     AF    0.20      $150.00       $30.00
             electronic filing system

03/18/2016   Conferred with principal attorney regarding Defendants'    AF    0.50      $150.00       $75.00
             Oral Argument Statement; Prepared Plaintiffs' Oral
             Argument Statement and tended to the filing of same

03/18/2016   Conferred with paralegal regarding Defendants' Oral        AJB   0.20      $500.00     $100.00
             Argument Statement and reviewed and approved
             Plaintiffs' Oral Argument Statement

03/19/2016   Letter: Document: letter to 2nd circuit 3.19.2016, draft   AF    0.17      $150.00       $25.50
             letter

03/19/2016   Appeal: Assembled 6 copies of reply brief and draft        AF    1.00      $150.00     $150.00
             cover letter to 2d cir transmitting same.

04/01/2016   Drafted correspondence to Client regarding Briefs filed    AF    0.15      $150.00       $22.50
             at Second Circuit

04/25/2016   Received and reviewed Notice from Second Circuit           AF    0.50      $150.00       $75.00
             scheduling oral argument for June 17, 2016; Conferred
             with principal attorney regarding same; Calendared
             date and documented client file with Notice

04/25/2016   Conferred with paralegal regarding Notice from Second      AJB   0.15      $500.00       $75.00
             Circuit scheduling oral argument for June 17, 2016

05/04/2016   Drafted correspondence to Client regarding the             AF    0.15      $150.00       $22.50
             scheduling of oral argument at Second Circuit and
             received and reviewed response thereto

05/09/2016   Received and reviewed correspondence from Client           AF    0.25      $150.00       $37.50
             regarding oral argument and drafted response thereto

06/14/2016   Conferred with principal attorney and associate            AF    1.00      $150.00     $150.00
             attorney regarding oral argument scheduled for June
             17, 2016; Drafted and revised letter for associate
             attorney advising that he will be arguing the appeal;
             Prepared Notice of Appearance on behalf of associate
             attorney; Tended to the filing of same

06/14/2016   Conferred with principal attorney and paralegal            RJS   3.75      $250.00     $937.50
             regarding oral argument scheduled for June 17, 2016
             and issues on appeal; Revised letter advising Court of
             attorney that will be arguing the appeal and approved
             Notice of Appearance; Reviewed and analyzed
             principal and reply briefs and Defendants' brief (Daniel
             Flynn)

06/14/2016   Conferred with associate attorney and paralegal            AJB   1.75      $500.00     $875.00
             regarding oral argument scheduled for June 17, 2016
             and issues on appeal (Daniel Flynn)

06/15/2016   Preparation: Prepared for Oral Argument with Daniel        AF    5.00      $150.00     $750.00




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             Flynn, Esq.

06/15/2016   Preparation: Prepared for Oral Argument - Daniel          RJS   5.60      $250.00    $1,400.00
             Flynn, Esq.

06/16/2016   Travel: Travel time from Rome NY to NYC Daniel            RJS   5.50      $250.00    $1,375.00
             Flynn, Esq.

06/16/2016   Travel: Travel time from Rome NY to NYC June 16,          AF    5.50      $150.00     $825.00
             2016

06/16/2016   Research: Conducted research for legal authority          AF    0.75      $150.00     $112.50
             concerning similar case: Zeno v. Pine Plains CSD

06/16/2016   Mileage: Travel to NYC from Rome                          AF    1.00      $170.85     $170.85

06/17/2016   Preparation: Prepared for oral argument with Daniel       AF    1.00      $150.00     $150.00
             Flynn, Esq.

06/17/2016   Preparation: Prepared for oral argument June 17, 2016     RJS   1.00      $250.00     $250.00
             - Associate Attorney Daniel Flynn, Esq.

06/17/2016   Oral Argument: Oral Argument                              AF    3.00      $150.00     $450.00

06/17/2016   Court Appearance: Appearance at oral argument             RJS   3.00      $250.00     $750.00
             Associate Attorney Daniel Flynn

06/17/2016   Travel: Travel time from NYC to Rome NY - Associate       RJS   5.50      $250.00    $1,375.00
             Attorney Daniel Flynn

06/17/2016   Travel: Travel and lodging expense Second Circuit Oral    AM    1.00      $500.00     $500.00
             Argument 06/16/16 - 06/17/16

06/17/2016   Travel: Travel time from NYC to Rome NY                   AF    5.50      $150.00     $825.00

06/17/2016   Mileage: Travel from NYC to Rome                          AF    1.00      $170.85     $170.85

06/28/2016   Received and reviewed correspondence from Client          AF    0.15      $150.00       $22.50
             concerning oral argument at Second Circuit and drafted
             response thereto

07/14/2016   Research: Document: How Schools Can Avoid Liability       AF    0.25      $150.00       $37.50
             in Claims Alleging Student-on-Student Harassment
             Underwood Law Underwood Atty at Law 07/14/16
             Review and research for appeal

07/14/2016   Appeal: Receive and review decision from 2d Circuit       AJB   0.50      $500.00     $250.00
             confer with paralegal

07/14/2016   Appeal: Receive and review decision from 2d Circuit       AF    0.30      $150.00       $45.00
             confer with principal attorney

07/14/2016   Research: Conducted research for legal authority          AF    0.30      $150.00       $45.00
             concerning Districts avoiding liability

07/14/2016   Drafted correspondence to Client regarding Second         AF    0.75      $150.00     $112.50
             Circuit's decision and post decision activity; Received
             and reviewed correspondence in response thereto;




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             Drafted reply to Client's response

08/04/2016   Appeal: Receive and review Mandate from 2d Circuit        AF    0.15      $150.00       $22.50

08/04/2016   Appeal: Receive and review Mandate from 2d Circuit        AJB   0.10      $500.00       $50.00

08/04/2016   Appeal: Meet and confer with AF regarding mandate         AJB   0.40      $500.00     $200.00
             and notify client

08/04/2016   Appeal: Meet and confer with AJB regarding mandate        AF    0.40      $150.00       $60.00
             and notify client

08/09/2016   Phone Call: Receive and review text order directing       AF    0.25      $150.00       $37.50
             filing of 2nd amended complaint; calendared deadline
             to file and serve same

08/09/2016   Phone Call: Confer with paralegal, receive and review     AJB   0.20      $500.00     $100.00
             text order directing filing of 2nd amended complaint

08/26/2016   e-mail: email to Keri Spring                              AJB   0.10      $500.00       $50.00

08/31/2016   Complaint: Conference with paralegal re: revised 2d       RJS   1.30      $250.00     $325.00
             amended complaint as required by 2nd cir mandate;
             Review and edit same

08/31/2016   Complaint: Draft and edit of Amended complaint in         AF    1.70      $150.00     $255.00
             accord with remand and conference with associate atty
             re: revised 2d amended complaint as required by
             Second Circuit mandate; Review and edit same;
             Tended to filing

09/08/2016   e-mail: email to/from Keri Spring                         AJB   0.25      $500.00     $125.00

09/12/2016   Phone Call: Call with client re: remand                   AJB   0.20      $500.00     $100.00

09/14/2016   Motion Response: Receive and review motion to             AF    0.90      $150.00     $135.00
             dismiss by school district

09/14/2016   Motion Response: Receive and review scheduling            AJB   0.10      $500.00       $50.00
             notice setting response and reply due dates -motion to
             dismiss by school district

09/22/2016   Drafted correspondence to Client regarding                AF    0.10      $150.00       $15.00
             Defendants' latest motion to dismiss

09/28/2016   Drafted correspondence to Defense counsel seeking         AF    0.15      $150.00       $22.50
             consent to extension of time to respond to motion to
             dismiss

09/29/2016   Motion Response: Conference with associate atty re:       AF    0.25      $150.00       $37.50
             extension of time to respond to motion to dismiss

09/29/2016   Motion Response: Conference with paralegal re: status     RJS   0.25      $250.00       $62.50
             and motion for extension of time to respond to motion
             to dismiss

09/29/2016   Motion: Prep of motion for extension of time to respond   RJS   0.75      $250.00     $187.50
             to Motion to Dismiss




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09/29/2016   Motion: Tended to filing of motion for extension of time    AF    0.20      $150.00       $30.00
             to respond to Motion to Dismiss

10/03/2016   Motion: Receive and review text order granting motion       AF    0.10      $150.00       $15.00
             for extension of time to respond to Motion to Dismiss

10/12/2016   Motion Response: Read and analyze Defs Motion to            AJB   3.00      $500.00    $1,500.00
             Dismiss including review of legal authority cited by Defs
             in Memorandum of law

10/13/2016   Motion Response: Continued review and evaluation of         AF    3.75      $150.00     $562.50
             Defs Motion to Dismiss including review of legal
             authority cited by Defs in Memorandum of law and
             contrary authority

10/14/2016   Motion Response: Begin drafting Memorandum of Law           AF    5.40      $150.00     $810.00
             and continued review of legal authority cited by Defs in
             Memorandum of law and conferred with principal atty
             regarding opposition papers; drafting of proposed third
             amended complaint

10/14/2016   Motion Response: Review of legal authority and              AJB   0.80      $500.00     $400.00
             contrary authority cited by Defs in Memorandum of law
             and conferred with paralegal regarding opposition
             papers and proposed third amended complaint

10/17/2016   Motion Response: Review and edits to draft mem of           AJB   1.75      $500.00     $875.00
             law and proposed third amended complaint

10/17/2016   Drafted multiple correspondence to Client inquiring         AF    1.50      $150.00     $225.00
             about facts underlying the case to include in a
             proposed Third Amended Complaint; Received and
             reviewed responses thereto; Reviewed file in
             relationship to said correspondence

10/18/2016   Motion Response: Continued review and revisions to          AJB   2.80      $500.00    $1,400.00
             draft mem of law and proposed third amended
             complaint and legal research regarding cross motion to
             amend. Also Conference with paralegal and review of
             draft notice of cross motion, atty affirmation and notice
             of motion

10/18/2016   Motion Response: Reviewed and finalized                     AF    4.50      $150.00     $675.00
             memorandum of law and proposed third amended
             complaint, Draft Atty Affirmation and Notice of motion
             Assemble exhibits to Atty Affirmation and finalized
             same. Conference with principal atty and confirmed
             exhibits

10/18/2016   Reviewed further correspondence from Client regarding       AF    1.75      $150.00     $262.50
             facts to add to a proposed Third Amended Complaint;
             Drafted correspondence in response thereto;
             Conferenced with Client regarding same

10/28/2016   Receive and review Def's Reply to Opposition to motion      AJB   0.30      $500.00     $150.00
             to dismiss

10/28/2016   Motion Response: Receive and review Def's Reply to          AF    0.40      $150.00       $60.00




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             Opposition to motion to dismiss

11/15/2016   Received and reviewed correspondence from Client             AF    0.15      $150.00       $22.50
             regarding case status and drafted response thereto

04/26/2017   Received and reviewed correspondence from Client             AF    0.15      $150.00       $22.50
             regarding case status and drafted response thereto

07/29/2017   Process Service: Service of process Cost re: David           AM    1.00        $39.22      $39.22
             Farrell

08/18/2017   Discovery: Received and reviewed correspondence              AF    0.10      $150.00       $15.00
             from Client regarding status of Superintendent Geelan's
             position at Allegany-Limestone Central School District

12/20/2017   e-mail: Corresponded with Client concerning Decision         AJB   0.25      $500.00     $125.00
             and Order

12/20/2017   ECF R&R: Received and Reviewed Decision and Order            AF    0.25      $150.00       $37.50
             granting, in part, Plaintiffs' Cross-Motion to amend their
             Second Amended Complaint and granting in part and
             denying in part Defendants' motion to dismiss;
             Conferred with principal attorney regarding same

12/20/2017   Review: Conferred with paralegal regarding Court's           AJB   0.25      $500.00     $125.00
             Decision and Order and reviewed same

12/20/2017   Drafted correspondence to Client concerning Court's          AF    0.10      $150.00       $15.00
             Decision and Order granting cross-motion to amend
             Second Amended Complaint and denying, in part,
             Defendants' motions to dismiss

02/15/2018   Complaint: Prepared Third Amended Complaint by               AF    1.25      $150.00     $187.50
             revising Second Amended Complaint to conform with
             the Court's Decision and Order of December 20, 2017;
             Conferred with principal attorney regarding same;
             Tended to the filing of the Third Amended Complaint

02/15/2018   Complaint: Reviewed and edited draft Third Amended           AJB   0.50      $500.00     $250.00
             Complaint; Conferred with paralegal regarding same

03/01/2018   ECF R&R: Received and Reviewed Defendants'                   AF    0.25      $150.00       $37.50
             Answer; Documented Client file with same

03/01/2018   ECF R&R: Received and Reviewed Defendants'                   AJB   0.30      $500.00     $150.00
             Answer; Analyzed Defendants' defenses

03/12/2018   ECF R&R: Received and reviewed Order regarding               AF    0.25      $150.00       $37.50
             issuance of Case Management Order; Calendared
             deadlines; Documented Client file

03/16/2018   Discovery: Drafted Notices of Deposition for                 AF    0.50      $150.00       $75.00
             Defendants Roewe, Easton, Straub, and Lowry;
             Conferred with principal attorney regarding same

03/16/2018   Discovery: Reviewed and revised Notices of Deposition        AJB   0.20      $500.00     $100.00
             for Defendants Roewe, Easton, Straub, and Lowry;
             Conferred with paralegal regarding same




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04/17/2018   Received and reviewed Case Management Order;                  AF    0.25      $150.00       $37.50
             Conferred with principal attorney regarding deadlines
             contained therein; Calendared deadline

04/17/2018   Conferred with paralegal regarding deadlines contained        AJB   0.10      $500.00       $50.00
             within Case Management Order

06/01/2018   Discovery: Reviewed draft Rule 26 disclosure prepared         AF    1.50      $150.00     $225.00
             by principal attorney; edited and finalized same

06/01/2018   Discovery: Reviewed file and drafted Rule 26                  AJB   2.50      $500.00    $1,250.00
             disclosure and corresponded with paralegal regarding
             same

07/19/2018   Corresponded with Defense counsel concerning                  AF    0.50      $150.00       $75.00
             stipulation selecting mediator; Conferred with principal
             attorney regarding same

07/19/2018   Conferred with paralegal regarding stipulation selecting      AJB   0.20      $500.00     $100.00
             mediator; Reviewed and executed same

09/18/2018   Revised mediation memorandum and conferred with               AJB   0.50      $500.00     $250.00
             paralegal regarding same

09/18/2018   Drafted memorandum for mediation session; Conferred           AF    2.00      $150.00     $300.00
             with principal attorney regarding same; Revised
             memorandum to incorporate changes made by
             attorney; Drafted correspondence to mediator
             regarding/attaching same

09/21/2018   Travel: First mediation on September 21, 2018 in              AJB   2.50      $500.00    $1,250.00
             Rochester, travel time to Rochester from office

09/21/2018   Meeting: Mediation                                            AJB   4.50      $500.00    $2,250.00

09/21/2018   Travel: Travel time from Rochester to office from             AJB   2.50      $500.00    $1,250.00
             mediation on September 21, 2018

09/21/2018   Parking: tolls and parking 09/21/18                           AM    1.00        $16.30      $16.30

09/21/2018   Mediation: Mediation invoice for service 09/21/18             AM    1.00      $168.75     $168.75

09/21/2018   Mileage: Mileage for travel to/from Rochester                 AM    1.00      $167.50     $167.50

10/31/2018   Discovery: edit, review, and finalize Rule 26 disclosures     AF    1.30      $150.00     $195.00

11/05/2018   Reviewed file to prepare Plaintiffs' first set of discovery   AF    3.00      $150.00     $450.00
             demands to School District Defendants; Conferred with
             principal attorney regarding same

11/05/2018   Conferred with paralegal concerning the draft of              AJB   1.00      $500.00     $500.00
             Plaintiffs' First Set of discovery demands to the School
             District Defendants; Revised same

11/06/2018   Continued to draft Plaintiff's First Set of Document          AF    1.50      $150.00     $225.00
             Demands to the School District Defendants; revised
             and finalized same; Corresponded with Defense
             counsel regarding same




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11/06/2018   Reviewed and continued to revise draft Plaintiff's First     AJB   0.75      $500.00     $375.00
             Set of Document Demands to the School District
             Defendants; Conferred with paralegal regarding same

11/12/2018   Discovery: Receipt and review of Lowry notice to             AF    0.50      $150.00       $75.00
             produce

11/16/2018   Letter: Drafted and revised letter to Magistrate Judge       AJB   0.50      $500.00     $250.00
             requesting extension of deposition and discovery
             deadlines; Conferred with paralegal regarding
             correspondence to Defense counsel and letter

11/16/2018   Letter: Conferred with principal attorney regarding letter   AF    0.20      $150.00       $30.00
             request to Magistrate Judge requesting extension of
             deposition and discovery deadlines; Reviewed and
             revised draft letter

11/16/2018   Corresponded with principal attorney regarding               AF    0.35      $150.00       $52.50
             correspondence to Defense counsel seeking consent to
             extension of the discovery deadline; Drafted
             correspondence to Defense counsel and received and
             reviewed correspondence in response thereto

11/19/2018   ECF R&R: Received and reviewed Text Order granting           AF    0.15      $150.00       $22.50
             letter request for extension of the deadlines to complete
             depositions and discovery; Conferred with principal
             attorney regarding same; Calendared new deadlines

11/19/2018   A105 Communicate (in firm) L190 Other Case                   AJB   0.05      $500.00       $25.00
             Assessment, Development and Administration:
             Conferred with paralegal regarding Text Order granting
             letter request for extension of the deadlines to complete
             depositions and discovery

11/26/2018   Discovery: Receipt and review of Easton discovery            AF    0.50      $150.00       $75.00
             demands

12/10/2018   Discovery: Receipt and review of 2d Lowry notice to          AF    0.30      $150.00       $45.00
             produce

12/18/2018   Discovery: Prepared treating healthcare provider             AF    2.50      $150.00     $375.00
             disclosure; Reviewed Clients' medical records;
             Conferred with principal attorney regarding same;
             Conferred with Client

12/18/2018   Discovery: Conferred with paralegal regarding Plaintiffs'    AJB   1.25      $500.00     $625.00
             treating healthcare provider disclosure; Revised same;
             Reviewed Clients' medical records

12/27/2018   Discovery: Began drafting discovery responses to             AF    4.30      $150.00     $645.00
             Easton, Lowry, Roewe

01/14/2019   Postage: 01/14/19 USPS first class package                   AM    1.00         $1.63       $1.63

01/22/2019   Conferred with principal attorney regarding outstanding      AF    0.25      $150.00       $37.50
             discovery demands owed to Defendants; Drafted letter
             to Defense counsel providing update as to same




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01/22/2019   Conferred with paralegal regarding outstanding            AJB   0.20      $500.00     $100.00
             discovery demands; Reviewed and approved letter to
             Defense counsel regarding same

01/28/2019   Discovery: reviewed numerous documents provided by        AF    4.30      $150.00     $645.00
             clients on a thumb drive

01/31/2019   Discovery: prepare HIPAA authorizations for Gregory       AF    0.50      $150.00       $75.00
             x6

01/31/2019   Discovery: prepare HIPAA authorizations for Gregory       AF    0.30      $150.00       $45.00
             x6 to Sugarman

02/01/2019   e-mail: discovery transmittal 5 word perfect drafts for   AJB   0.50      $500.00     $250.00
             responses receipt and review of demands

02/01/2019   Review: R+R Roewe interrogs and doc requests, file        AJB   1.50      $500.00     $750.00
             review

02/04/2019   e-mail: prep and transmittal of 19 HIPAA authorization    AF    1.20      $150.00     $180.00
             forms

02/04/2019   e-mail: transmittal of Keri, Julianne, and Geno's HIPAA   AF    0.75      $150.00     $112.50
             forms

02/04/2019   e-mail: Forward to clients HIPAA auths (75) inc. 20 for   AF    0.20      $150.00       $30.00
             KS, 30 for GS, 20 for ES, 5 for JS

02/04/2019   e-mail: Email x2 clients re HIPAA auths w. instructions   AF    0.30      $150.00       $45.00

02/04/2019   Discovery: Compile exhibits for discovery responses to    AF    3.00      $150.00     $450.00
             Easton, Roewe, Lowry, confer with principal attorney
             regarding same

02/04/2019   Discovery: Confer with paralegal re: responses to         AJB   0.75      $500.00     $375.00
             Easton, Lowry and Rowe discovery demands; review of
             exhibits and file

02/05/2019   e-mail: email re: condolences for Greg publication on     AJB   0.25      $500.00     $125.00
             internet

02/05/2019   Discovery: scan and file documents from clients ~450      AF    0.80      $150.00     $120.00
             pages

02/06/2019   e-mail: additional HIPAAs Julianne                        AF    0.25      $150.00       $37.50

02/06/2019   Discovery: Prepared HIPAA authorization for Julianne      AF    0.10      $150.00       $15.00

02/06/2019   Discovery: review documents from clients re collosum      AJB   2.40      $500.00    $1,200.00
             dysgenesis and research same

02/07/2019   e-mail: Correspondence from client re: witnesses          AJB   0.25      $500.00     $125.00

02/07/2019   e-mail: receipt of documents                              AJB   0.25      $500.00     $125.00

02/08/2019   Documented case files with modified HIPAA                 AF    0.30      $150.00       $45.00
             authorizations x5




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02/11/2019   Discovery: Drafted Easton and Roewe discovery            AF    1.00      $150.00     $150.00
             responses

02/14/2019   e-mail: sending interrogatories and document demand      AJB   0.50      $500.00     $250.00
             responses for review; 4 revised HIPAA forms; 5
             education record release forms

02/14/2019   Discovery: Prepared HIPAA authorization for Julianne     AF    0.10      $150.00       $15.00

02/14/2019   Discovery: Prepared HIPAA authorization for Keri         AF    0.10      $150.00       $15.00

02/15/2019   e-mail: email re: Keith Nutt phone number                AJB   0.10      $500.00       $50.00

02/15/2019   e-mail: review and approval of responses to school       AJB   0.40      $500.00     $200.00
             demands

02/15/2019   Discovery: Drafted Lowry discovery responses             AF    0.75      $150.00     $112.50

02/19/2019   Postage: First class package re: Defendant Lowry's       AM    1.00         $3.66       $3.66
             discovery demands

02/20/2019   Discovery: Prepared school record releases x5            AF    0.50      $150.00       $75.00

02/20/2019   Discovery: Prepared verification pages x3                AF    0.20      $150.00       $30.00

02/20/2019   Discovery: Drafted responses to Doc Demands              AF    0.50      $150.00       $75.00

02/20/2019   Discovery: Compile exhibits for discovery responses to   AF    1.25      $150.00     $187.50
             Easton, Roewe, Lowry

02/20/2019   Documented case files with response by Joy Perrone       AF    0.20      $150.00       $30.00
             re medical records

02/22/2019   Document: Spring Waiver Form dd 2.22.2019 - Def.         AF    0.34      $150.00       $51.00
             Sch Dist.wpd

             to type, fix mistakes and file

02/22/2019   e-mail: response to Lowry post from July 2013            AJB   0.10      $500.00       $50.00

02/22/2019   e-mail: email re bullying                                AJB   0.10      $500.00       $50.00

02/22/2019   Prepare District waiver of service form                  AF    0.25      $150.00       $37.50

02/25/2019   e-mail: receipt and review of post about Geelan at       AJB   0.25      $500.00     $125.00
             Valhalla school

02/25/2019   Discovery: File Eugene medical records received          AF    0.20      $150.00       $30.00

02/25/2019   Discovery: File Keri medical records received            AF    0.20      $150.00       $30.00

02/26/2019   Discovery: Drafted amended discovery responses to        AF    1.00      $150.00     $150.00
             Easton and Roewe

02/26/2019   Discovery: File Eugene medical records received          AF    0.20      $150.00       $30.00

02/26/2019   Discovery: File Keri medical records received            AF    0.20      $150.00       $30.00

02/27/2019   e-mail: FWD interrogatories                              AJB   0.25      $500.00     $125.00




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02/27/2019   Discovery: review notes by client for interrogatories        AF    1.00      $150.00     $150.00

02/27/2019   Discovery: File Gregory medical records received x3          AF    0.30      $150.00       $45.00
             providers

03/01/2019   Discovery: File Eugene medical records received              AF    0.20      $150.00       $30.00

03/01/2019   Discovery: File Keri medical records received x2             AF    0.20      $150.00       $30.00

03/04/2019   Discovery: Filed letters of administration                   AF    0.10      $150.00       $15.00

03/06/2019   Discovery: Prepared HIPAA authorization for Julianne         AF    0.10      $150.00       $15.00

03/07/2019   Discovery: Prepared HIPAA authorizations for Gregory         AF    0.40      $150.00       $60.00
             x4

03/22/2019   Received and reviewed correspondence from Defense            AF    1.75      $150.00     $262.50
             counsel regarding/transmitting Gregory Spring's
             attendance, academic, disciplinary and CSE records;
             Conferred with principal attorney regarding same;
             Document client file

03/22/2019   Conferred with paralegal regarding correspondence            AJB   2.50      $500.00    $1,250.00
             from Defense counsel regarding/transmitting Gregory
             Spring's attendance, academic, disciplinary and CSE
             records; Reviewed said records

04/01/2019   Letter: Drafted and revised letter to Magistrate Judge       AF    1.00      $150.00     $150.00
             Schroeder requesting further extension of the discovery
             deadline; Conferred with principal attorney regarding
             same; Tended to filing of letter

04/01/2019   Letter: Conferred with paralegal regarding draft letter to   AJB   0.25      $500.00     $125.00
             Magistrate Judge Schroeder requesting further
             extension of the discovery deadline; Revised same

04/02/2019   e-mail: email message re bullying                            AJB   0.20      $500.00     $100.00

04/04/2019   e-mail: email inquiry                                        AJB   0.20      $500.00     $100.00

04/05/2019   ECF R&R: Received and reviewed Text Order granting           AF    0.25      $150.00       $37.50
             Plaintiffs' letter request and re-setting case
             management deadlines; Conferred with principal
             attorney regarding same; Calendared new deadlines

04/05/2019   ECF R&R: Conferred with paralegal regarding Text             AJB   0.05      $500.00       $25.00
             Order granting Plaintiffs' letter request and re-setting
             case management deadlines

04/15/2019   Documented case files with medical records from              AF    0.50      $150.00       $75.00
             pediatric healthcare 60 pgs

04/16/2019   Medical Records: Invoice - Pediatric Healthcare 04/16/       AM    1.00        $42.75      $42.75
             19

04/25/2019   e-mail: client correspondence re deposition dates            AJB   0.10      $500.00       $50.00

04/25/2019   e-mail: from client re EBTs and Geelan suspension            AJB   0.10      $500.00       $50.00




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04/29/2019   e-mail: email re school employees, parent handbook,         AJB   0.50      $500.00     $250.00
             CSE director, faculty misconduct and Geelan's reaction
             after Greg's death, night of healing, and board
             members

04/29/2019   e-mail: from client re witnesses and evidence and           AJB   0.50      $500.00     $250.00
             return phone call with client

04/29/2019   e-mail: to client w. draft resp. to interrogs               AJB   0.10      $500.00       $50.00

04/29/2019   Discovery: Drafted responses to School Defendant            AF    2.50      $150.00     $375.00
             Interrogatories, confer with principal attorney regarding
             same

04/29/2019   Discovery: Confer with paralegal re: responses to           AJB   0.40      $500.00     $200.00
             demands

04/30/2019   e-mail: to client re additional draft demands and           AJB   0.10      $500.00       $50.00
             interrogatory responses

04/30/2019   e-mail: from AF to cavarello re 11/2018 demands             AJB   0.10      $500.00       $50.00

04/30/2019   e-mail: to client correcting earlier attachment of          AJB   0.10      $500.00       $50.00
             interrogatory responses

04/30/2019   Discovery: edited response to school district               AF    0.60      $150.00       $90.00
             interrogatories

04/30/2019   Conferred with principal attorney regarding outstanding     AF    0.25      $150.00       $37.50
             discovery demands to the School District Defendants;
             Drafted correspondence regarding same to Defense
             counsel

04/30/2019   Conferred with paralegal regarding outstanding              AJB   0.10      $500.00       $50.00
             discovery demands to the School District Defendants
             and draft correspondence to Defense counsel
             regarding same

05/01/2019   e-mail: x2 from and to client re draft interrogatory        AJB   0.20      $500.00     $100.00
             responses

05/01/2019   Discovery: Drafted Easton and Roewe record                  AF    0.70      $150.00     $105.00
             authorizations

05/01/2019   Drafted Rule 33 Interrogatories to Defendants School        AF    3.75      $150.00     $562.50
             District and Straub and a Second Set of Requests to
             Produce to the School District and a First Set of
             Requests to Produce to Straub; Conferred with
             principal attorney regarding same; Revised draft
             discovery demands to incorporate changes made by
             principal attorney; Drafted correspondence to Defense
             counsel transmitting said demands and addressing
             depositions

05/01/2019   Reviewed draft discovery demands to the School              AJB   0.50      $500.00     $250.00
             District Defendants and revised same; Conferred with
             paralegal regarding same




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05/03/2019   e-mail: transmittal of discovery responses                  AJB   0.10      $500.00       $50.00

05/03/2019   e-mail: to client sending final responses for review        AJB   0.10      $500.00       $50.00

05/03/2019   e-mail: from client re attachments x2                       AJB   0.10      $500.00       $50.00

05/03/2019   e-mail: to client with verification pages for signature     AJB   0.10      $500.00       $50.00

05/03/2019   e-mail: from AF to counsel attaching doc demand             AJB   0.10      $500.00       $50.00
             responses and instruction for electronic linkCD to follow

05/03/2019   Discovery: Drafted discovery responses to school            AF    1.00      $150.00     $150.00
             defendant interrogatories

05/03/2019   Discovery: Prepare responses to district's document         AF    1.90      $150.00     $285.00
             demands

05/03/2019   Assembled exhibits to accompany Plaintiff's response        AF    1.75      $150.00     $262.50
             to the School District's discovery demands; Drafted
             correspondence to Defense counsel transmitting same

05/07/2019   e-mail: transmittal of verifications re discovery           AJB   0.10      $500.00       $50.00

05/07/2019   e-mail: from AF re 3/22 email from cavarello w/ GS          AJB   0.10      $500.00       $50.00
             records, 6x attachments

05/07/2019   e-mail: from client returning verification                  AJB   0.10      $500.00       $50.00

05/07/2019   e-mail: to client transmitting Greg's records, 5 files      AJB   0.10      $500.00       $50.00

05/07/2019   e-mail: from client re Greg's records missing               AJB   0.10      $500.00       $50.00
             elementary school

05/07/2019   e-mail: to client re missing verifications                  AJB   0.10      $500.00       $50.00

05/07/2019   e-mail: from client re missing verifications                AJB   0.10      $500.00       $50.00

05/07/2019   Drafted correspondence to Defense counsel regarding         AF    0.10      $150.00       $15.00
             outstanding discovery demands to School District
             Defendants and received and reviewed response
             thereto; Corresponded with principal attorney regarding
             same

05/07/2019   Corresponded with paralegal regarding outstanding           AJB   0.10      $500.00       $50.00
             discovery demands to the School District Defendants
             and Defense counsel's response to correspondence
             concerning same

05/14/2019   e-mail: email from Anthony to Keri attaching 14 files       AJB   0.25      $500.00     $125.00

05/14/2019   e-mail: witness phone numbers and names                     AJB   0.25      $500.00     $125.00

05/14/2019   e-mail: witnesses and medical records and info re           AJB   0.25      $500.00     $125.00
             Decker

05/14/2019   e-mail: discovery, witnesses                                AJB   0.25      $500.00     $125.00

05/14/2019   e-mail: from Cavarello re availability for EBTs and         AJB   0.10      $500.00       $50.00




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             Straub 6/5

05/14/2019   e-mail: to counsel re depositions 3rd and 4th and 5th         AJB   0.10      $500.00       $50.00

05/14/2019   e-mail: from Cavarello re available 6/5 and 7                 AJB   0.10      $500.00       $50.00

05/14/2019   e-mail: from Banker re availability 3,4,6th                   AJB   0.10      $500.00       $50.00

05/14/2019   e-mail: from AK re availability 3,4th                         AJB   0.10      $500.00       $50.00

05/14/2019   e-mail: from McPartland re availability 3, 4th                AJB   0.10      $500.00       $50.00

05/14/2019   e-mail: to counsel re rescheduled and reserved week of        AJB   0.10      $500.00       $50.00
             6/3 for EBTs "intend to meet June 7 deadline"

05/14/2019   e-mail: from client re missing verifications                  AJB   0.10      $500.00       $50.00

05/14/2019   Discovery: Prepare new notices of deposition to easton,       AF    0.60      $150.00       $90.00
             lowry, roewe, and to Geelan

05/14/2019   Discovery: Review and filing of letter re McMullen            AF    0.50      $150.00       $75.00

05/14/2019   Phone Call: Corresponded with Ashley Mott concerning          AJB   0.75      $500.00     $375.00
             information about bullying of her daughter who was
             disabled had no hand - transferred schools out of ALSD

05/15/2019   e-mail: info re Pecorella                                     AJB   0.20      $500.00     $100.00

05/15/2019   e-mail: from Banker re Easton military duty station           AJB   0.20      $500.00     $100.00

05/15/2019   Drafted correspondence to Defense counsel regarding/          AF    0.20      $150.00       $30.00
             transmitting verifications executed by Plaintiffs in regard
             to their responses to Defendants' discovery demands

05/17/2019   e-mail: Corresponded with Banker concerning to 50-h           AJB   0.20      $500.00     $100.00
             transcripts and video EBT

05/17/2019   e-mail: Corresponded with Banker concerning stip to           AJB   0.10      $500.00       $50.00
             discontinue against Easton and Roewe

05/17/2019   e-mail: Corresponded with Banker concerning setting           AJB   0.10      $500.00       $50.00
             aside week 6/3 and production of 50h transcripts

05/17/2019   e-mail: Corresponded with Banker concerning 50h               AJB   0.10      $500.00       $50.00
             transcripts

05/17/2019   e-mail: Corresponded with Banker concerning meeting           AJB   0.20      $500.00     $100.00
             date set by Court and intention to proceed

05/17/2019   e-mail: Corresponded with Przybyla concerning text            AJB   0.20      $500.00     $100.00
             order and PT conf rescheduled to 8/7/19

05/17/2019   e-mail: Corresponded with AF concerning 2019 slip op.         AJB   0.10      $500.00       $50.00

05/17/2019   Research: Motta v. Eldrid CSD 2019 NY Slip Op.                AJB   0.30      $500.00     $150.00

05/20/2019   e-mail: Corresponded with Banker concerning EBT               AJB   0.10      $500.00       $50.00
             notice




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05/20/2019   e-mail: Corresponded with Banker concerning              AJB   0.10      $500.00       $50.00
             proposed schedule for EBTs June 3-5 and 50h
             transcript

05/20/2019   e-mail: Corresponded with counsel concerning proposal    AJB   0.10      $500.00       $50.00
             for completing depositions of Roewe, Lowry, Easton,
             Straub

05/21/2019   e-mail: Corresponded with clients concerning             AJB   0.10      $500.00       $50.00
             deposition re availability

05/21/2019   e-mail: Corresponded with Banker concerning witness      AJB   0.10      $500.00       $50.00
             availability

05/21/2019   e-mail: Corresponded with counsel concerning EBT         AJB   0.40      $500.00     $200.00
             availability June 3-5

             4x emails

05/21/2019   e-mail: Corresponded with Cavarello concerning Straub    AJB   0.10      $500.00       $50.00
             availability 6/5

05/21/2019   e-mail: Corresponded with Banker concerning EBT          AJB   0.10      $500.00       $50.00
             schedule

05/22/2019   e-mail: Correspondence from AK to AF concerning EBT      AJB   0.20      $500.00     $100.00
             scheduling

05/22/2019   e-mail: Correspondence HB to AF concerning EBT           AJB   0.10      $500.00       $50.00
             scheduling

05/22/2019   e-mail: Correspondence from Banker to AF concerning      AJB   0.20      $500.00     $100.00
             deposition location

05/22/2019   e-mail: Correspondence from AF to Banker w. my resp.     AJB   0.10      $500.00       $50.00
             to email

05/22/2019   e-mail: Correspondence from Banker to AF concerning      AJB   0.10      $500.00       $50.00
             EBTs 6/3-5

05/22/2019   e-mail: Correspondence from AF to Banker concerning      AJB   0.10      $500.00       $50.00
             EBT schedule

05/22/2019   e-mail: Correspondence with AF concerning msg from       AJB   0.10      $500.00       $50.00
             client re EBT availability

05/22/2019   Drafted correspondence to Client regarding deposition    AF    0.15      $150.00       $22.50
             schedule

05/22/2019   Received and reviewed correspondence from Client         AF    0.25      $150.00       $37.50
             regarding Julianne Spring's deposition and drafted
             response thereto

05/22/2019   Conferred with principal attorney regarding deposition   AF    0.65      $150.00       $97.50
             schedule; Drafted correspondence to Defense counsel
             inquiring as to a proposed deposition schedule;
             Received and reviewed responses thereto; Drafted
             correspondence to Client providing update as to




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             deposition schedule

05/22/2019   Conferred with paralegal regarding deposition            AJB   0.25      $500.00     $125.00
             schedule; Reviewed correspondence to Defense
             counsel inquiring as to a proposed deposition schedule
             and responses thereto

05/24/2019   e-mail: Correspondence from HB to AF concerning EBT      AJB   0.10      $500.00       $50.00
             scheduling

05/24/2019   e-mail: Correspondence from HB to AF concerning EBT      AJB   0.10      $500.00       $50.00
             scheduling

05/27/2019   e-mail: Corresponded with Cavarello concerning Straub    AJB   0.20      $500.00     $100.00
             and Geelan EBTs

05/28/2019   e-mail: Corresponded with Cavarello concerning EBTs      AJB   0.20      $500.00     $100.00
             in Rochester and scheduling Geelan

05/28/2019   e-mail: Corresponded with Bromberg concerning            AJB   0.20      $500.00     $100.00
             education records authorization and death cert

05/28/2019   e-mail: Corresponded with Cavarello concerning OOO       AJB   0.10      $500.00       $50.00

05/29/2019   e-mail: Corresponded with Cavarello concerning           AJB   0.20      $500.00     $100.00
             discovery

05/29/2019   e-mail: Corresponded with HB concerning scheduling       AJB   0.10      $500.00       $50.00
             EBTs

05/29/2019   e-mail: Corresponded with HB concerning video EBTs       AJB   0.10      $500.00       $50.00

05/29/2019   e-mail: Corresponded with client concerning emails       AJB   0.30      $500.00     $150.00

05/29/2019   e-mail: Corresponded with Cavarello concerning           AJB   0.10      $500.00       $50.00
             Geelan subpoena

05/29/2019   e-mail: Corresponded with Cavarello concerning           AJB   0.10      $500.00       $50.00
             discovery demands, records, Lowry employment,

05/29/2019   e-mail: Corresponded with Banker concerning unable to    AJB   0.10      $500.00       $50.00
             attend EBTs in Buffalo due to trial prep

05/29/2019   Review: Review of emails produced by District            AF    2.00      $150.00     $300.00

05/30/2019   e-mail: Corresponded with client concerning              AJB   0.50      $500.00     $250.00
             attachments re emails with Geelan, Straub, Zach
             Colburn,

05/30/2019   e-mail: Corresponded with AK concerning video            AJB   0.10      $500.00       $50.00
             conference from Rochester

05/30/2019   e-mail: Corresponded with HB concerning video            AJB   0.10      $500.00       $50.00
             depositions and physical depositions

05/30/2019   e-mail: Corresponded with counsel concerning             AJB   0.10      $500.00       $50.00
             reconfirmation of Geelan




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05/30/2019   e-mail: Corresponded with Cavarello concerning           AJB   0.10      $500.00       $50.00
             Geelan contact info

05/30/2019   e-mail: Corresponded with AP concerning Geelan           AJB   0.10      $500.00       $50.00
             availability

05/30/2019   e-mail: Corresponded with client concerning              AJB   0.40      $500.00     $200.00
             attachments on self confidence, ZC accusations,
             disciplinary record

05/30/2019   e-mail: Correspondence from AF to counsel concerning     AJB   0.10      $500.00       $50.00
             death cert.

05/30/2019   e-mail: Corresponded with counsel concerning EBTs        AJB   0.10      $500.00       $50.00

05/30/2019   e-mail: Corresponded with AK concerning video conf.      AJB   0.10      $500.00       $50.00
             EBT Easton and Roewe

05/30/2019   Received and reviewed correspondence from Defense        AF    0.30      $150.00       $45.00
             counsel's office regarding scheduling of depositions

05/30/2019   Drafted correspondence to Defense counsel attaching      AF    0.10      $150.00       $15.00
             Gregory Spring's death certificate

05/31/2019   Preparation: Preparation for deposition of client Keri   AJB   0.80      $500.00     $400.00
             Spring; including file and discovery review May
             31,2019; Conferred with paralegal regarding
             correspondence from Defense counsel regarding the
             depositions and Letters of Administration

05/31/2019   e-mail: Corresponded with McPartland concerning          AJB   0.10      $500.00       $50.00
             Plaintiff EBTs confirmed

05/31/2019   e-mail: Corresponded with McPartland concerning          AJB   0.10      $500.00       $50.00
             availability for 6/5 not 6/7

05/31/2019   e-mail: Corresponded with counsel concerning time for    AJB   0.25      $500.00     $125.00
             Geelan EBT

05/31/2019   e-mail: Corresponded with AK concerning surrogate        AJB   0.10      $500.00       $50.00
             docs

05/31/2019   Received and reviewed correspondence from Defense        AF    0.50      $150.00       $75.00
             counsel regarding the upcoming depositions and a
             request for a copy of the Letters of Administration;
             Conferred with principal attorney regarding same

06/01/2019   e-mail: Correspondence concerning Facebook               AJB   0.25      $500.00     $125.00
             messages transmittal

06/01/2019   e-mail: Correspondence concerning Facebook posts         AJB   0.25      $500.00     $125.00
             from teachers aide

06/01/2019   Preparation: Continued Prep for deposition of client     AJB   1.25      $500.00     $625.00
             Keri Sping; including file and discovery review 06/01/
             2019; Conferred with paralegal regarding recently
             produced materials from Client




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06/01/2019   e-mail: Correspondence with KS w. attachments x3 FB        AJB   0.30      $500.00     $150.00
             posts

06/01/2019   e-mail: Correspondence with client w. attachments x6       AJB   0.10      $500.00       $50.00
             FB postings

06/01/2019   Received and reviewed additional discovery materials       AF    0.35      $150.00       $52.50
             from Client; Conferred with principal attorney regarding
             same

06/02/2019   e-mail: Correspondence transmitting documents 1st-8th      AJB   0.25      $500.00     $125.00
             grade

06/02/2019   Preparation: Preparation for deposition of Julianne        AJB   1.50      $500.00     $750.00
             Spring; including file and discovery review 06/02/19

06/02/2019   e-mail: Corresponded with client concerning                AJB   0.25      $500.00     $125.00
             documents, educational records

06/03/2019   Discovery: 06/03/19 Deposition of Plaintiff Keri Spring    AJB   6.00      $500.00    $3,000.00

06/03/2019   Travel: Travel time to Rochester for depositions           AJB   2.50      $500.00    $1,250.00

06/03/2019   Discovery: Deposition of Julianne Spring 06/03/19          AJB   1.75      $500.00     $875.00

06/03/2019   Hearing Transcript: Alliance Court Reporting Invoice       AM    1.00      $776.31     $776.31
             06/03/19

06/03/2019   e-mail: Corresponded with Cavarello concerning FB          AJB   0.60      $500.00     $300.00
             post and Straub notes w. attachments and review of
             same

06/03/2019   e-mail: Corresponded with McPartland concerning            AJB   0.30      $500.00     $150.00
             Roewe resps. R+R

06/03/2019   Received and reviewed discovery materials disclosed        AF    2.50      $150.00     $375.00
             by the School District Defendants' attorney; Reviewed
             and analyzed said materials; Conferred with principal
             attorney regarding same; Documented client file

06/03/2019   Conferred with paralegal regarding recently disclosed      AJB   1.00      $500.00     $500.00
             discovery materials from the School District
             Defendants; Began review of same

06/04/2019   e-mail: Corresponded with Amy LaFever                      AJB   0.25      $500.00     $125.00

06/04/2019   Discovery: 06/04/19 Deposition of Michael Easton           AJB   3.00      $500.00    $1,500.00

06/04/2019   Discovery: Jacob Roewe Deposition 06/04/19                 AJB   0.75      $500.00     $375.00

06/04/2019   Discovery: Keri Springs continuation of deposition 06/     AJB   3.75      $500.00    $1,875.00
             04/19

06/04/2019   e-mail: HB w. Easton resp. to interr. and doc demand       AJB   0.50      $500.00     $250.00

06/04/2019   Hearing Transcript: Alliance Court Reporting Invoice       AM    1.00      $376.31     $376.31
             06/04/19




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06/04/2019   Hearing Transcript: Alliance Court Reporting Invoice         AM    1.00    $1,503.75    $1,503.75
             06/04/19

06/05/2019   Travel: Travel time from Rochester for depositions           AJB   2.50      $500.00    $1,250.00

06/05/2019   Discovery: 06/05/19 kevin straub deposition                  AJB   6.17      $500.00    $3,085.00

06/05/2019   Mileage: Travel to and from Depositions 242 miles            AM    1.00      $140.36     $140.36

06/05/2019   Parking: Toll and parking depositions                        AM    1.00        $15.50      $15.50

06/05/2019   ECF R&R: Received and reviewed Motion for                    AF    0.15      $150.00       $22.50
             Extension of Time to Complete Discovery filed by
             Defendant Roewe on behalf of all parties; Conferred
             with principal attorney regarding same; Documented
             client file with same

06/05/2019   A105 Communicate (in firm) L190 Other Case                   AJB   0.10      $500.00       $50.00
             Assessment, Development and Administration:
             Conferred with paralegal regarding Motion for
             Extension of Time to Complete Discovery filed by
             Defendant Roewe on behalf of all parties

06/05/2019   Hearing Transcript: Alliance Court Reporting Invoice         AM    1.00      $698.91     $698.91
             06/05/19

06/07/2019   e-mail: Corresponded with McPartland concerning              AJB   0.10      $500.00       $50.00
             Easton and Roewe offer to settle

06/11/2019   ECF R&R: Received and reviewed Text Order granting           AF    0.15      $150.00       $22.50
             motion for extension of the discovery and other case
             management deadlines; Conferred with principal
             attorney regarding same; Calendared new deadlines

06/11/2019   ECF R&R: Conferred with paralegal regarding Text             AJB   0.10      $500.00       $50.00
             Order granting motion for extension of the discovery
             and other case management deadlines

06/18/2019   e-mail: Corresponded with client                             AJB   0.10      $500.00       $50.00

06/19/2019   e-mail: Corresponded with client concerning Mcpartland       AJB   0.25      $500.00     $125.00

06/19/2019   e-mail: Corresponded with McPartland                         AJB   0.10      $500.00       $50.00

08/06/2019   e-mail: Corresponded with Will McPartland requesting         AJB   0.25      $500.00     $125.00
             FERPA releases for Roewe and Easton

08/14/2019   Drafted correspondence to Defense counsel                    AF    0.25      $150.00       $37.50
             concerning outstanding response from the School
             District to Plaintiffs' Rule 33 Interrogatories and second
             Set of Requests for Production as well as the demands
             to Defendant Straub; Conferred with principal attorney
             regarding same

08/14/2019   Conferred with paralegal regarding outstanding               AJB   0.10      $500.00       $50.00
             discovery owed by the School District Defendants

08/22/2019   e-mail: Corresponded with client concerning audit trail      AJB   0.25      $500.00     $125.00




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09/06/2019   e-mail: Corresponded concerning deposition                AJB   0.25      $500.00     $125.00

09/06/2019   e-mail: Corresponded with Amy concerning discovery        AJB   0.25      $500.00     $125.00

09/06/2019   Motion: Drafted and revised Motion for an extension of    AF    0.75      $150.00     $112.50
             time to complete discovery; Conferred with principal
             attorney regarding same and tended to its filing;
             Reviewed correspondence from principal attorney to
             Defense counsel regarding extension

09/06/2019   Motion: Revised Motion for an extension of time to        AJB   0.50      $500.00     $250.00
             complete discovery; Conferred with paralegal regarding
             same

09/13/2019   Corresponded with Defense counsel regarding               AJB   0.30      $500.00     $150.00
             scheduling of depositions

09/13/2019   Reviewed correspondence between principal attorney        AF    0.10      $150.00       $15.00
             and Defense counsel regarding scheduling of
             depositions

09/16/2019   Corresponded with Defense counsel regarding               AJB   0.15      $500.00       $75.00
             scheduling of depositions

09/16/2019   Reviewed correspondence between principal attorney        AF    0.10      $150.00       $15.00
             and Defense counsel regarding scheduling of
             depositions

09/17/2019   Corresponded with Defense counsel regarding               AJB   0.15      $500.00       $75.00
             scheduling of depositions

09/17/2019   Reviewed correspondence between principal attorney        AF    0.10      $150.00       $15.00
             and Defense counsel regarding scheduling of
             depositions

09/18/2019   Prepare demand for audit trail                            AF    0.30      $150.00       $45.00

09/27/2019   Conferred with paralegal regarding the School District    AJB   1.00      $500.00     $500.00
             Defendants' Responses to Plaintiff's Document
             Demands; Reviewed same

09/27/2019   Received and reviewed the School District Defendants'     AF    1.25      $150.00     $187.50
             Responses to Plaintiff's Document Demands;
             Conferred with principal attorney regarding same;
             Documented client file

10/01/2019   Review of Easton discovery responses                      AF    0.60      $150.00       $90.00

10/04/2019   Documented case files with medical records from           AF    0.40      $150.00       $60.00
             Children's Hospital 33pgs

10/04/2019   Prepare attorney affirmation in opposition to motion to   AJB   1.50      $500.00     $750.00
             dismiss

10/16/2019   Documented case files with Affidavit of Non Service on    AF    0.10      $150.00       $15.00
             Geelan

10/17/2019   Review: Document: Spring- AOS for Geelan 10.17.19         AF    0.10      $150.00       $15.00




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10/23/2019   Documented case files with affidavit of service on           AF    0.10      $150.00       $15.00
             Geelan

10/24/2019   e-mail: Corresponded with client concerning                  AJB   0.25      $500.00     $125.00
             depositions

11/05/2019   e-mail: Corresponded concerning message from                 AJB   0.25      $500.00     $125.00
             ALCSD and Geelan

11/12/2019   Reviewed file and conferred with principal attorney          AF    2.50      $150.00     $375.00
             regarding outstanding discovery issues; Began drafting
             letter to Magistrate Judge Schroeder requesting court
             intervention and extension of case management
             deadlines

11/12/2019   Reviewed file and conferred with paralegal regarding         AJB   1.50      $500.00     $750.00
             outstanding discovery issues

11/13/2019   Continued to draft letter to Judge Schroeder seeking         AF    0.75      $150.00     $112.50
             court intervention and extension of deadlines;
             Conferred with principal attorney regarding same;
             Revised and finalized letter and tended to the filing of
             same

11/13/2019   Reviewed and edited draft letter to Judge Schroeder          AJB   0.50      $500.00     $250.00
             seeking court intervention and extension of deadlines;
             Conferred with paralegal regarding same

11/18/2019   ECF R&R: Received and review Text Order scheduling           AF    0.15      $150.00       $22.50
             Status Conference for December 4, 2019; Calendared
             date

11/18/2019   ECF R&R: Conferred with paralegal regarding Text             AJB   0.10      $500.00       $50.00
             Order scheduling Status Conference for December 4,
             2019

11/22/2019   Discovery: Receipt and review of straub response to          AF    0.30      $150.00       $45.00
             demands

11/27/2019   ECF R&R: Received and reviewed letter from                   AJB   0.75      $500.00     $375.00
             Defendants' counsel in response to Plaintiffs' letter with
             respect to outstanding discovery issues; Conferred with
             paralegal regarding same

11/27/2019   ECF R&R: Received and reviewed letter from                   AF    1.00      $150.00     $150.00
             Defendants' counsel in response to Plaintiffs' letter with
             respect to outstanding discovery issues; Conferred with
             principal attorney regarding same; Documented Client
             file

12/04/2019   ECF R&R: Received and reviewed Text Order                    AF    0.15      $150.00       $22.50
             scheduling telephone conference to address the
             parties' letters regarding discovery; Conferred with
             principal attorney regarding same; Calendared
             conference date

12/04/2019   ECF R&R: Conferred with paralegal regarding Text             AJB   0.05      $500.00       $25.00
             Order scheduling telephone conference to address the




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             parties' letters regarding discovery

12/09/2019   Research: Conducted research for legal authority          AF    0.60      $150.00       $90.00
             concerning Districts liability, Piechowicz case WDNY

12/09/2019   Conferred with principal attorney regarding documents     AF    0.25      $150.00       $37.50
             allegedly generated by Cory Pecorella at the Allegany-
             Limestone Central School District; Drafted
             correspondence to Defense counsel regarding same

12/09/2019   Conferred with paralegal regarding communications         AJB   0.20      $500.00     $100.00
             produced by Defendants allegedly from Cory Pecorella
             at the Allegany-Limestone Central School District

12/10/2019   Received and reviewed correspondence from Defense         AF    0.20      $150.00       $30.00
             counsel in response to correspondence concerning
             documents allegedly generated by Cory Pecorella;
             Conferred with principal attorney regarding same

12/10/2019   Conferred with paralegal concerning correspondence        AJB   0.10      $500.00       $50.00
             from Defense counsel in response to correspondence
             concerning documents allegedly generated by Cory
             Pecorella

12/20/2019   e-mail: Correspondence b/w Anthony and Cavarello re       AJB   0.25      $500.00     $125.00
             Pecorella

12/20/2019   Court Appearance: Prepared for telephonic conference      AJB   3.00      $500.00    $1,500.00
             with Magistrate Judge Schroeder to address
             outstanding discovery issues, including conferring with
             paralegal; Attended telephone conference where Judge
             Schroeder directed Defendants' counsel to provide
             school records

12/20/2019   Preparation: Conferred with principal attorney in         AF    2.50      $150.00     $375.00
             advance of telephonic conference with Magistrate
             Judge Schroeder to address outstanding discovery
             issues; Reviewed recent correspondence and file in
             preparation of same; Reviewed correspondence from
             principal attorney regarding status of case

12/20/2019   Drafted corresponded to Client regarding NYSP             AJB   0.50      $500.00     $250.00
             records, the status of discovery, and Geelan e-mails

12/21/2019   ECF R&R: Received and reviewed Minute Entry and           AF    0.25      $150.00       $37.50
             Amended Case Management Order; Calendared
             deadlines; Documented client file with same

01/02/2020   e-mail: Corresponded with client concerning audit trail   AJB   0.25      $500.00     $125.00

04/07/2020   e-mail: scholarship application for Greg's scholarship    AJB   0.25      $500.00     $125.00

04/07/2020   Received and reviewed letter from Defense counsel         AJB   0.30      $500.00     $150.00
             regarding NYSP records; Corresponded with paralegal
             regarding same

04/07/2020   Reviewed letter from Defense counsel regarding NYSP       AF    0.30      $150.00       $45.00
             records; Corresponded with principal attorney regarding




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             same

04/20/2020   Drafted correspondence to Client regarding/attaching       AF    0.35      $150.00       $52.50
             authorization for the NYSP records

04/20/2020   Conferred with principal attorney regarding Defendants'    AF    0.35      $150.00       $52.50
             counsel's request to schedule the deposition of Eugene
             Spring; Drafted correspondence to Defense counsel's
             firm addressing scheduling Eugene Spring's deposition
             and Karen Geelan's deposition

04/20/2020   Conferred with paralegal regarding Defendants'             AJB   0.15      $500.00       $75.00
             counsel's request to schedule the deposition of Eugene
             Spring; Reviewed correspondence to Defense
             counsel's firm addressing scheduling Eugene Spring's
             deposition and Karen Geelan's deposition

04/21/2020   Received and reviewed correspondence from Client           AF    0.10      $150.00       $15.00
             regarding the authorization to obtain the NYSP records

04/23/2020   e-mail: intra office email transmitting PDFs               AJB   0.25      $500.00     $125.00

04/23/2020   Conferred with principal attorney regarding                AF    1.00      $150.00     $150.00
             correspondence from Client regarding the authorization
             to obtain NYSP records; Drafted correspondence to
             Client in response to her correspondence concerning
             same

04/23/2020   Conferred with paralegal regarding correspondence          AJB   0.40      $500.00     $200.00
             from Client regarding the authorization to obtain NYSP
             records; Reviewed correspondence to Client in
             response to her correspondence concerning same

04/28/2020   Participated in video conference with Clients to discuss   AF    1.00      $150.00     $150.00
             status of case

04/28/2020   Participated in video conference with Clients to discuss   AJB   1.00      $500.00     $500.00
             status of case

04/29/2020   Corresponded with Client regarding the authorization to    AF    0.20      $150.00       $30.00
             obtain the NYSP records

05/17/2020   e-mail: email re state police                              AJB   0.30      $500.00     $150.00

05/18/2020   Motion: Drafted and revised Motion for an extension of     AJB   0.50      $500.00     $250.00
             time to complete discovery; Conferred with paralegal
             regarding same and tended to its filing

05/18/2020   Motion: Revised Motion for an extension of time to         AF    0.25      $150.00       $37.50
             complete discovery; Conferred with principal attorney
             regarding same and tended to its filing

05/19/2020   ECF R&R: Received and reviewed Text Order granting         AF    0.15      $150.00       $22.50
             motion for extension of the discovery and other case
             management deadlines; Conferred with principal
             attorney regarding same; Calendared new deadlines

05/19/2020   ECF R&R: Conferred with paralegal regarding Text           AJB   0.10      $500.00       $50.00




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             Order granting Plaintiffs' motion for extension of the
             discovery deadline and re-setting case management
             deadlines

05/20/2020   e-mail: email to client re authorization less photographs   AJB   0.30      $500.00     $150.00

05/20/2020   Conferred with principal attorney regarding                 AF    0.50      $150.00       $75.00
             authorization for NYSP records; Modified authorization;
             Drafted correspondence to Client regarding same and
             received and reviewed correspondence in response
             thereto

05/20/2020   Conferred with paralegal regarding authorization for        AJB   0.25      $500.00     $125.00
             NYSP records; Modified authorization

05/27/2020   Conferred with principal attorney regarding Client's        AF    0.25      $150.00       $37.50
             continued concerns about authorization for NYSP
             records; Drafted correspondence to Client regarding
             same

05/27/2020   Conferred with paralegal regarding Client's continued       AJB   0.15      $500.00       $75.00
             concerns about authorization for NYSP records

07/10/2020   PC with client re                                           AJB   0.50      $500.00     $250.00
             Release of police records and possible settlement
             conference with Paula at state court

07/10/2020   e-mail: Corresponded with Cavarello concerning NYSP         RJS   0.20      $250.00       $50.00
             letter

08/21/2020   Drafted correspondence to Defense counsel                   AF    0.25      $150.00       $37.50
             concerning whether his clients are interested in
             scheduling a settlement conference; Received and
             reviewed correspondence in response thereto;
             Conferred with principal attorney regarding same

08/21/2020   Conferred with paralegal regarding preparing                AJB   0.15      $500.00       $75.00
             correspondence to Defense counsel concerning
             whether his clients are interested in scheduling a
             settlement conference; Reviewed correspondence in
             response thereto

08/26/2020   Motion: Drafted and revised Motion for an extension of      AF    1.00      $150.00     $150.00
             time to complete discovery, including file review in
             preparation of same; Conferred with principal attorney
             regarding same and tended to its filing

08/26/2020   Revised draft motion for an extension to complete           AJB   0.50      $500.00     $250.00
             discovery, including file review; Conferred with
             paralegal regarding same

09/03/2020   ECF R&R: Received and reviewed Text Order granting          AF    0.15      $150.00       $22.50
             motion for extension of the discovery and other case
             management deadlines; Conferred with principal
             attorney regarding same; Calendared new deadlines

09/03/2020   ECF R&R: Conferred with paralegal regarding Text            AJB   0.05      $500.00       $25.00
             Order granting Plaintiffs' letter request and re-setting




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             case management deadlines

11/17/2020   Teleconference: Teleconf.                                  AJB   0.25      $500.00     $125.00

11/17/2020   e-mail: settlement conference                              AJB   0.20      $500.00     $100.00

11/18/2020   e-mail: email to Julianne re consent to settle             AJB   0.10      $500.00       $50.00

11/24/2020   Motion: Drafted and revised Motion for an extension of     AF    0.50      $150.00       $75.00
             time to complete discovery, including file review to
             prepare same; Conferred with principal attorney
             regarding same and tended to its filing

11/24/2020   Motion: Revised Motion for an extension of time to         AJB   0.25      $500.00     $125.00
             complete discovery; Conferred with paralegal regarding
             same

11/24/2020   ECF R&R: Received and reviewed Text Order granting         AF    0.15      $150.00       $22.50
             motion for extension of the discovery and other case
             management deadlines; Conferred with principal
             attorney regarding same; Calendared new deadlines

11/24/2020   ECF R&R: Conferred with paralegal regarding Text           AJB   0.05      $500.00       $25.00
             Order granting Plaintiffs' letter request and re-setting
             case management deadlines

01/13/2021   Received and reviewed correspondence from Defense          AF    0.50      $150.00       $75.00
             counsel's firm regarding responses to Defendants'
             discovery demands; Reviewed file and drafted
             response thereto

01/20/2021   Conferred with paralegal regarding status of case          AJB   0.50      $500.00     $250.00

01/20/2021   Conferred with principal attorney regarding status of      AF    0.50      $150.00       $75.00
             case

01/21/2021   Drafted corresponded to Client to obtain contact           AF    0.20      $150.00       $30.00
             information for Morgan Gleason and received and
             reviewed response thereto

01/28/2021   Conducted efforts to contact Morgan Gleason, including     AF    1.00      $150.00     $150.00
             online research; Corresponded with Client and
             conferred with principal attorney regarding same;
             Received and reviewed correspondence from Client

01/28/2021   Conferred with paralegal regarding efforts to contact      AJB   0.25      $500.00     $125.00
             Morgan Gleason, including online research

01/28/2021   Drafted and received correspondence from Client            AF    0.20      $150.00       $30.00
             concerning Morgan Gleason

02/01/2021   e-mail: Review of correspondence between AF and            RJS   0.10      $250.00       $25.00
             counsel re EBTs

02/01/2021   Drafted and received correspondence from Client            AF    0.20      $150.00       $30.00
             concerning deposition of Morgan Gleaon

02/01/2021   Conferenced with principal attorney and drafted            AF    0.50      $150.00       $75.00




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             correspondence to Defense counsel regarding
             scheduling the depositions of Defendant Lowry and
             former Superintendent Geelan

02/01/2021   Conferred with paralegal regarding contact with         AJB   0.25      $500.00     $125.00
             Defense counsel to schedule depositions of Lowry and
             Geelan

02/04/2021   e-mail: Corresponded with counsel concerning EBT        RJS   0.10      $250.00       $25.00
             scheduling

02/05/2021   e-mail: Corresponded with counsel concerning EBT        RJS   0.30      $250.00       $75.00
             scheduling x3

02/05/2021   Received and reviewed correspondence from Defense       AF    0.50      $150.00       $75.00
             counsel concerning scheduling depositions; Conferred
             with principal attorney regarding same; Drafted
             correspondence to Defense counsel regarding same

02/05/2021   Conferred with paralegal regarding correspondence       AJB   0.15      $500.00       $75.00
             received from Defense counsel concerning scheduling
             depositions and follow-up correspondence related
             thereto

02/07/2021   Drafted correspondence to Defense counsel regarding     AF    0.15      $150.00       $22.50
             scheduling of depositions

02/11/2021   e-mail: Corresponded with counsel concerning EBT        RJS   0.30      $250.00       $75.00
             scheduling x3

02/11/2021   Received and reviewed correspondence from Defense       AF    0.50      $150.00       $75.00
             counsel regarding scheduling depositions; Conferred
             with principal attorney regarding same; Drafted
             correspondence to Defense counsel regarding same

02/11/2021   Conferred with paralegal regarding correspondence       AJB   0.20      $500.00     $100.00
             from Defense counsel regarding scheduling depositions
             and follow-up correspondence related thereto

02/12/2021   e-mail: Corresponded with counsel concerning EBT        RJS   0.60      $250.00     $150.00
             scheduling x10

02/15/2021   Preparation: Prep. for EBT of Karen Geelan on 02/15/    AJB   1.75      $500.00     $875.00
             21

02/15/2021   Preparation: Preparation for deposition of geelan       AJB   2.25      $500.00    $1,125.00
             including conference with Keri Spring

02/15/2021   e-mail: Corresponded with counsel concerning EBT        RJS   0.10      $250.00       $25.00
             scheduling

02/15/2021   Analyzed areas to address with then Superintendent      AF    2.50      $150.00     $375.00
             Geelan at her deposition and corresponded with
             principal and associate attorneys regarding same

02/16/2021   Deposition Transcript: Geelan                           AJB   1.00    $1,180.00    $1,180.00

02/16/2021   Discovery: EBT of Geelan (198 p) and conference         AJB   4.10      $500.00    $2,050.00




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             thereafter with client

02/16/2021   e-mail: Corresponded with staff concerning EBT topics/   RJS   0.40      $250.00     $100.00
             prep

02/16/2021   e-mail: Corresponded with counsel concerning EBT         RJS   0.20      $250.00       $50.00
             scheduling x2

02/16/2021   Received and reviewed correspondence from Defense        AF    0.10      $150.00       $15.00
             counsel regarding the deposition of Morgan Gleason

02/19/2021   e-mail: Corresponded with steno concerning EBT           RJS   0.20      $250.00       $50.00
             exhibits x2

02/23/2021   e-mail: email transmitting Geelan invoice                AJB   0.10      $500.00       $50.00

02/25/2021   e-mail: email re cost of litigation                      AJB   0.10      $500.00       $50.00

03/08/2021   e-mail: Corresponded with staff concerning EBT           RJS   0.75      $250.00     $187.50
             scheduling x14

03/09/2021   e-mail: Review correspondence between AF and             RJS   0.30      $250.00       $75.00
             counsel

03/09/2021   Conferred with principal attorney regarding extension    AF    0.50      $150.00       $75.00
             request to conduct outstanding depositions; Drafted
             correspondence to Defense counsel regarding same

03/09/2021   Conferred with paralegal regarding outstanding           AJB   0.25      $500.00     $125.00
             depositions and correspondence to Defense counsel
             regarding same

03/10/2021   e-mail: Corresponded with counsel concerning EBT         RJS   0.30      $250.00       $75.00
             schedule x3

03/11/2021   e-mail: Corresponded with counsel concerning EBT         RJS   0.10      $250.00       $25.00
             schedule

03/11/2021   Conferred with principal attorney regarding extension    AF    0.25      $150.00       $37.50
             request to conduct outstanding depositions; Drafted
             correspondence to Defense counsel regarding same;
             Received and reviewed correspondence from Defense
             counsel and Notice of Examination for Gleason

03/11/2021   Conferred with paralegal regarding outstanding           AJB   0.15      $500.00       $75.00
             depositions and correspondence to Defense counsel
             regarding same

03/12/2021   Received and reviewed letter motion by Defendants        AF    0.20      $150.00       $30.00
             requesting extension of time to complete discovery;
             Documented client file with same

03/12/2021   Reviewed Defendants' motion for an extension to          AJB   0.50      $500.00     $250.00
             complete discovery

03/12/2021   ECF R&R: Received and reviewed Text Order granting       AF    0.15      $150.00       $22.50
             motion for extension of the discovery deadline to
             conduct the depositions of Defendants Lowry and




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             Gleason; Conferred with principal attorney regarding
             same; Calendared new deadline

03/12/2021   ECF R&R: Conferred with paralegal regarding Text           AJB   0.10      $500.00       $50.00
             Order granting Defendants' letter request and re-setting
             deposition deadline

03/25/2021   e-mail: Corresponded with Marina Murray concerning         RJS   0.20      $250.00       $50.00
             Gleason EBT

03/26/2021   e-mail: Corresponded with counsel concerning EBT           RJS   0.50      $250.00     $125.00
             scheduling x4

03/26/2021   Received and reviewed correspondence from Defense          AF    0.20      $150.00       $30.00
             counsel regarding scheduling of depositions

03/28/2021   e-mail: notice of remote depositions                       AJB   0.10      $500.00       $50.00

03/29/2021   e-mail: Corresponded with counsel concerning Lowry         RJS   0.80      $250.00     $200.00
             EBT cancellation and rescheduling x10

03/29/2021   Received and reviewed correspondence from Defense          AF    0.25      $150.00       $37.50
             counsel cancelling deposition of Defendant Lowry and
             reviewed correspondence from principal attorney
             regarding same

03/30/2021   e-mail: Corresponded with counsel concerning Lowry         RJS   0.20      $250.00       $50.00
             EBT cancellation and rescheduling x2

03/30/2021   Received and reviewed motion by Defendant Lowry            AF    0.25      $150.00       $37.50
             requesting extension of time to conduct her deposition;
             Conferred with principal attorney regarding same;
             Documented client file with same

03/31/2021   Reviewed Defendant Lowry's motion for an extension         AJB   0.20      $500.00     $100.00
             to complete discovery and conferred with paralegal
             regarding same

03/31/2021   ECF R&R: Received and reviewed Text Order granting         AF    0.15      $150.00       $22.50
             motion for extension of the discovery deadline to
             conduct the deposition of Defendant Lowry; Conferred
             with principal attorney regarding same; Calendared
             new deadline

03/31/2021   ECF R&R: Conferred with paralegal regarding Text           AJB   0.10      $500.00       $50.00
             Order granting Defendant Lowry's motion for an
             extension of time to conduct her deposition

04/06/2021   e-mail: Corresponded with counsel concerning Lowry         RJS   0.20      $250.00       $50.00
             EBT proceeding

04/06/2021   Drafted letter to Defense counsel addressing the           AJB   0.50      $500.00     $250.00
             cancelled deposition of Lowry

04/09/2021   e-mail: Corresponded with counsel concerning Lowry         RJS   0.25      $250.00       $62.50
             EBT

04/09/2021   e-mail: Corresponded with counsel concerning Geelan        RJS   0.20      $250.00       $50.00




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             EBT demands x2

04/13/2021   e-mail: Corresponded with counsel concerning EBT         RJS   0.30      $250.00       $75.00
             demands x3

04/14/2021   e-mail: Corresponded with counsel concerning Lowry       RJS   0.20      $250.00       $50.00
             EBT

04/14/2021   Received and reviewed correspondence from Defense        AJB   0.35      $500.00     $175.00
             counsel addressing the cancelled deposition of
             Defendant Lowry and drafted correspondence in
             response thereto

04/16/2021   e-mail: Corresponded with NC concerning EBT links        RJS   0.10      $250.00       $25.00

04/18/2021   Preparation: Preparation for deposition of Lowry April   AJB   0.75      $500.00     $375.00
             19,2021

04/18/2021   Discovery: Prep for ebt of lowry - conf w/ client        AJB   1.80      $500.00     $900.00

04/19/2021   e-mail: virtual link sent                                AJB   0.10      $500.00       $50.00

04/19/2021   Discovery: EBT of Lowry                                  AJB   3.00      $500.00    $1,500.00

04/19/2021   e-mail: Corresponded with AB concerning EBT links        RJS   0.10      $250.00       $25.00

04/28/2021   e-mail: Corresponded with counsel concerning EBT         RJS   0.10      $250.00       $25.00
             demands

05/19/2021   e-mail: Corresponded with counsel concerning             RJS   0.75      $250.00     $187.50
             discovery responses x4 and review of production

06/07/2021   e-mail: email from client re suicide case in OH          AJB   0.25      $500.00     $125.00

06/07/2021   e-mail: Corresponded with AB concerning conference       RJS   0.20      $250.00       $50.00

06/23/2021   Review: Review of Defendants' SJM                        RJS   2.00      $250.00     $500.00

06/23/2021   Review: Review of Defendants' SJM                        AF    3.75      $150.00     $562.50

06/24/2021   Motion Response: summarize Lowry EBT                     AF    3.20      $150.00     $480.00

06/25/2021   e-mail: transmitting Lowry SJM to client, 15 files       AJB   0.30      $500.00     $150.00

06/25/2021   Motion Response: summarize Keri EBTs and 50h             AF    6.80      $150.00    $1,020.00

06/25/2021   Motion Response: summarize Julianne Spring EBT and       RJS   2.00      $250.00     $500.00
             50-h and Geno 50-h

06/25/2021   e-mail: Corresponded with client concerning Lowry SJM    RJS   0.40      $250.00     $100.00

07/08/2021   Motion Response: review Def's SMF and exhibits,          RJS   4.00      $250.00    $1,000.00
             prepare response

07/08/2021   Motion Response: review Def's SMF and exhibits,          AF    4.00      $150.00     $600.00
             prepare response

07/09/2021   e-mail: Corresponded with AB concerning court update     RJS   0.10      $250.00       $25.00




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07/13/2021   Motion Response: prepare motion papers for extension     AF    2.00      $150.00     $300.00

07/13/2021   Motion Response: review and sign motion papers for       AJB   0.75      $500.00     $375.00
             extension

07/13/2021   Motion Response: file motion papers for extension        AF    0.25      $150.00       $37.50

07/19/2021   Motion Response: work on response to SMF                 AF    2.00      $150.00     $300.00

07/23/2021   Motion Response: summarize Geelan EBT                    AF    5.00      $150.00     $750.00

07/23/2021   Motion Response: summarize Easton and Roewe EBTs         RJS   3.25      $250.00     $812.50

07/30/2021   e-mail: MM to AJ re location of MG EBT and subpoena      AJB   0.25      $500.00     $125.00

07/30/2021   e-mail: Corresponded with staff concerning deposition    RJS   0.25      $250.00       $62.50
             scheduling x3

08/09/2021   e-mail: email from client re Lowry, Straub, and Geelan   AJB   0.25      $500.00     $125.00
             and response to SMF

08/12/2021   e-mail: Corresponded with staff concerning deposition    RJS   0.10      $250.00       $25.00
             exhibits

08/13/2021   Conferred with principal and associate attorneys         AF    0.50      $150.00       $75.00
             regarding status of summary judgment opposition
             papers; Drafted correspondence to defense counsel
             seeking consent to extension

08/13/2021   Conferred with paralegal regarding status of summary     AJB   0.40      $500.00     $200.00
             judgment opposition papers and seeking extension

08/13/2021   Conferred with paralegal regarding status of summary     RJS   0.40      $250.00     $100.00
             judgment opposition papers and seeking extension

08/16/2021   Motion Response: review and research on SJM              RJS   3.48      $250.00     $870.00

08/16/2021   Motion Response: draft response to SMF                   RJS   0.52      $250.00     $130.00

08/16/2021   e-mail: Corresponded with staff concerning extension     RJS   0.10      $250.00       $25.00
             request

08/17/2021   Motion Response: Continue drafting and editing SMF       RJS   1.80      $250.00     $450.00
             response

08/19/2021   Motion Response: continue drafting response to Def's     RJS   3.75      $250.00     $937.50
             SMF, draft Keri affirmation

08/19/2021   e-mail: Corresponded with staff concerning deposition    RJS   0.10      $250.00       $25.00
             exhibits

08/19/2021   Motion Response: Review EBT exhibits and other           RJS   2.00      $250.00     $500.00
             discovery to ID exhibits for SJM response

08/20/2021   Motion Response: research issues for SJM: deliberate     RJS   4.00      $250.00    $1,000.00
             indifference, school liability

08/20/2021   e-mail: Corresponded with staff concerning deposition    RJS   0.30      $250.00       $75.00




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             exhibits and review of same

08/20/2021   Motion Response: Edited ASMF, Keri Aff., AJ aff.           AF    2.00      $150.00     $300.00

08/20/2021   Motion Response: continue drafting and editing SMF         RJS   2.25      $250.00     $562.50
             and ASMF

08/20/2021   Motion Response: Conducted research for legal              AF    3.50      $150.00     $525.00
             authority concerning the issue of qualifying disability,
             deliberate indifference, exhaustion

08/21/2021   Motion Response: work on drafting SMF response             RJS   2.00      $250.00     $500.00

08/23/2021   Motion Response: Drafting and edits to SMF response        RJS   3.50      $250.00     $875.00
             and ASMF

08/23/2021   Motion Response: Conducted research for legal              RJS   3.25      $250.00     $812.50
             authority concerning the issue of admissibility of
             evidence and drafted section of memo

08/23/2021   Motion Response: Draft sections of memo concerning         AF    4.50      $150.00     $675.00
             deliberate indifference, exhaustion, damages

08/23/2021   Motion Response: Edit ASMF                                 AF    2.00      $150.00     $300.00

08/24/2021   Motion Response: Continued drafting, compiling, and        RJS   6.00      $250.00    $1,500.00
             editing of SJM memo response; additional research as
             necessary

08/24/2021   Motion Response: Edits and review to SMF response,         RJS   2.50      $250.00     $625.00
             ASMF

08/25/2021   Motion Response: Review and compile exhibits for SJM       AF    4.00      $150.00     $600.00
             response, prepare for filing of same

08/25/2021   Motion Response: Edits and finalization of SMF             AF    4.50      $150.00     $675.00
             response and ASMF with principal attorney

08/25/2021   Motion Response: Finalize for filing and filing of SJ      AF    1.00      $150.00     $150.00
             motion response

08/25/2021   Motion Response: Review, edits and finalization of         AJB   6.50      $500.00    $3,250.00
             SMF response and ASMF with paralegal

08/25/2021   Motion Response: Final review and edits to memo of         AJB   4.00      $500.00    $2,000.00
             law

08/25/2021   Motion Response: Finish memo of law, integrate edits       RJS   6.00      $250.00    $1,500.00
             from AJ, bolster legal research where applicable

08/25/2021   Motion Response: Assist AB and AF with finalization of     RJS   4.00      $250.00    $1,000.00
             SMF and ASMF, fixed citations

08/26/2021   e-mail: email to client motion documents filed in          AJB   0.25      $500.00     $125.00
             response to School's SMF and SJM

08/26/2021   e-mail: Corresponded with client concerning motion         RJS   0.10      $250.00       $25.00
             response




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08/26/2021   e-mail: Corresponded with AF concerning certificate of       RJS   0.10      $250.00       $25.00
             service

08/26/2021   Corresponded with Defense counsel concerning the             AF    0.10      $150.00       $15.00
             exhibits attached to Plaintiffs' motion to seal

09/07/2021   e-mail: Corresponded with AF concerning research into        RJS   0.10      $250.00       $25.00
             sealing medical records

09/07/2021   Research: Conducted research for legal authority             RJS   0.50      $250.00     $125.00
             concerning the issue of sealing medical records;
             Conferred with paralegal regarding same

09/07/2021   Conducted research concerning Plaintiffs' motion to file     AF    1.50      $150.00     $225.00
             documents under seal; Conferred with associate and
             principal attorneys regarding same; Drafted reply to
             Defendants' response

09/07/2021   Conferred with paralegal regarding Defendants'               AJB   0.75      $500.00     $375.00
             response to Plaintiffs' motion to seal; Reviewed case
             authority in support of same; Reviewed and revised
             draft reply

09/08/2021   e-mail: NC to MM confirming EBT                              AJB   0.10      $500.00       $50.00

09/08/2021   e-mail: NC to MM                                             AJB   0.10      $500.00       $50.00

09/08/2021   e-mail: Corresponded with staff concerning EBT               RJS   0.25      $250.00       $62.50
             scheduling confirmation x3

09/09/2021   A105 Communicate (in firm) L120 Analysis/Strategy:           AJB   1.00      $500.00     $500.00
             TRY TRY TRY to get the EBT location and coordinate
             for Morgan Gleason ebt in Buffalo
             alas- no good Through a series of calls to Marina and
             emails back and forth - discovered there was no
             physical location to appear for the ebt and I refuse to do
             it virtually because not a good scene and keri wanted to
             be present....

09/09/2021   e-mail: Nikki to MM re EBT of MG adjournment                 AJB   0.10      $500.00       $50.00

09/09/2021   e-mail: MM to Nikki re voicemail adjourning ebt              AJB   0.10      $500.00       $50.00

09/09/2021   e-mail: re virtual EBT MG                                    AJB   0.25      $500.00     $125.00

09/09/2021   e-mail: MM to AJB re MG EBT arrangements                     AJB   0.10      $500.00       $50.00

09/09/2021   e-mail: Corresponded with counsel concerning EBT             RJS   0.50      $250.00     $125.00
             scheduling x6

09/29/2021   e-mail: copy of transmittal of 9/29/21 letter to amy         AJB   0.10      $500.00       $50.00
             laverer koch re MG

09/29/2021   Letter: letter to amy laverer koch re MG                     AJB   0.25      $500.00     $125.00

09/29/2021   e-mail: Corresponded with counsel concerning Gleason         RJS   0.25      $250.00       $62.50
             EBT x2




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11/04/2021   Preparation: Preparation for EBT of Gleason sched.        AJB   0.75      $500.00     $375.00
             Nov. 05, 2021

11/05/2021   Discovery: November 5, 2021 EBT of Morgan Gleason         AJB   1.74      $500.00     $870.00
             10:30am-12:11am

11/05/2021   Travel: Travel to Buffalo for EBT of November 05,2021     AJB   3.10      $500.00    $1,550.00

11/05/2021   Travel: Travel back from Buffalo November 05,2021         AJB   3.10      $500.00    $1,550.00

11/05/2021   Mileage: Travel to/from Buffalo                           AF    1.00      $254.60     $254.60

11/16/2021   e-mail: Corresponded with AB concerning conference        RJS   0.10      $250.00       $25.00
             scheduling

12/16/2021   e-mail: email from client,. Facebook posts about          AJB   0.25      $500.00     $125.00
             Geelan

12/16/2021   Corresponded with Client concerning Defendant Diane       AF    0.20      $150.00       $30.00
             Lowry's death; Conferred with principal attorney
             regarding same

12/16/2021   Conferred with paralegal regarding correspondence         AJB   0.10      $500.00       $50.00
             from Client concerning the death of Diane Lowry

12/17/2021   e-mail: email to client re videos of posts                AJB   0.25      $500.00     $125.00

01/14/2022   e-mail: Corresponded with Paula Newcomb concerning        RJS   0.10      $250.00       $25.00
             mediation

01/14/2022   e-mail: Corresponded with Marina Murray concerning        RJS   0.30      $250.00       $75.00
             discovery production x2

01/14/2022   Reviewed correspondence between associate attorney        AF    0.20      $150.00       $30.00
             and Defense counsel regarding demand for documents
             made at Karen Geelan's deposition

01/26/2022   e-mail: Corresponded with Marina Murray concerning        RJS   0.30      $250.00       $75.00
             settlement x4

03/16/2022   e-mail: Corresponded with Koch concerning estate          RJS   0.10      $250.00       $25.00

05/17/2022   A104 Review/analyze L120 Analysis/Strategy:               AJB   0.50      $500.00     $250.00
             Received and reviewed Court Decision and Order on
             Motion for Summary Judgment, conferred with client
             regarding same (.2)

05/17/2022   Received and reviewed Court's Decision and Order          AF    0.25      $150.00       $37.50
             granting in part and denying in part Defendants' motion
             for summary judgment; Conferred and corresponded
             with Client regarding same

05/20/2022   e-mail: email from client re Morgan                       AJB   0.30      $500.00     $150.00

05/23/2022   Received and reviewed correspondence from Client          AF    0.10      $150.00       $15.00
             concerning Morgan Gleason

05/24/2022   e-mail: Corresponded with AF concerning research, CT      RJS   0.50      $250.00     $125.00




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             matter and documents, review of same

05/24/2022   e-mail: Corresponded with AF concerning SMF              RJS   0.20      $250.00       $50.00
             response, policies of district

05/24/2022   e-mail: Corresponded with AF concerning draft memo       RJS   0.50      $250.00     $125.00
             of law, review of same

07/06/2022   e-mail: Corresponded with Marina Murray concerning       RJS   0.20      $250.00       $50.00
             ADR x2

07/07/2022   e-mail: Corresponded with Marina Murray concerning       RJS   0.10      $250.00       $25.00
             ADR

07/07/2022   e-mail: Corresponded with staff concerning motion        RJS   0.10      $250.00       $25.00
             papers

07/07/2022   e-mail: Corresponded with Marina Murray concerning       AJB   0.10      $500.00       $50.00
             ADR

07/22/2022   Review: Receive and review motion by Def's for           AJB   0.25      $500.00     $125.00
             extension of time to complete mediation and text order
             granting extension.

08/17/2022   Review: Document: NOE 8.17.2022.wpd                      AJB   0.34      $500.00     $170.00

             to type and revise

09/13/2022   e-mail: Corresponded with Marina Murray concerning       RJS   0.25      $250.00       $62.50
             mediator proposal; Conferred with principal attorney
             and paralegal regarding mediator

09/13/2022   Conferred with principal and associate attorneys         AF    0.25      $150.00       $37.50
             regarding mediation; Drafted correspondence to
             Defense counsel regarding same

09/13/2022   Conferred with associate attorney and paralegal          AJB   0.20      $500.00     $100.00
             regarding proposed mediator

09/19/2022   e-mail: Corresponded with Marina Murray concerning       RJS   0.20      $250.00       $50.00
             mediator proposal x2

09/20/2022   e-mail: Corresponded with Marina Murray concerning       RJS   0.10      $250.00       $25.00
             extension for mediation

09/20/2022   Received and reviewed correspondence from Defense        AF    0.20      $150.00       $30.00
             counsel concerning proposed mediator; Drafted
             correspondence to Defense counsel regarding
             extension to complete mediation

09/21/2022   e-mail: Corresponded with Marina Murray concerning       RJS   0.10      $250.00       $25.00
             alternative mediator proposal

09/21/2022   Review: Receive and review motion by Def's for           AJB   0.25      $500.00     $125.00
             extension of time to complete mediation and text order
             granting extension.

09/21/2022   Conferred with proposed mediator; Conferred with         AF    0.50      $150.00       $75.00




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             principal attorney regarding proposed mediator's
             unavailability to serve; Corresponded with Defense
             counsel regarding same and suggested alternative

09/21/2022   Conferred with associate attorney and paralegal          AJB   0.25      $500.00     $125.00
             regarding proposed mediator's unavailability and
             proposed alternatives

09/21/2022   Conferred with principal attorney and paralegal          RJS   0.25      $250.00       $62.50
             regarding proposed mediator's unavailability and
             proposed alternatives

10/05/2022   e-mail: Corresponded with Marina Murray concerning       RJS   0.10      $250.00       $25.00
             alternative mediator proposal

10/05/2022   Received and reviewed correspondence from Defense        AF    0.50      $150.00       $75.00
             counsel concerning proposed mediator; Conferred with
             principal attorney regarding same; Drafted
             correspondence to proposed mediator

10/05/2022   Conferred with paralegal regarding correspondence        AJB   0.15      $500.00       $75.00
             from Defense counsel concerning proposed mediator
             and correspondence from paralegal to proposed
             mediator

10/13/2022   Conferred with proposed mediator and drafted             AF    0.25      $150.00       $37.50
             correspondence to him attaching Third Amended
             Complaint; Conferred with principal attorney regarding
             communication with proposed mediator

10/13/2022   Conferred with paralegal regarding communication with    AJB   0.10      $500.00       $50.00
             proposed mediator

10/25/2022   Reviewed correspondence from proposed mediator;          AF    0.20      $150.00       $30.00
             Drafted correspondence to proposed mediator, copied
             to counsel, to arrange mediation session

11/01/2022   Received and reviewed correspondence from mediator       AF    0.20      $150.00       $30.00
             concerning arranging date for mediation; Conferred
             with principal attorney regarding same

11/01/2022   Received and reviewed correspondence from mediator       AJB   0.20      $500.00     $100.00
             concerning arranging date for mediation; Conferred
             with paralegal regarding same

11/02/2022   Corresponded with mediator and Defense counsel to        AF    0.10      $150.00       $15.00
             arrange telephone conference to schedule mediation
             session

11/04/2022   Received and reviewed correspondence from Defense        AF    0.20      $150.00       $30.00
             counsel and mediator concerning virtual conference to
             schedule mediation; Conferred with principal attorney
             regarding same

11/04/2022   Conferred with paralegal regarding correspondence        AJB   0.10      $500.00       $50.00
             from Defense counsel and mediator concerning virtual
             conference to schedule mediation




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11/15/2022   e-mail: Corresponded with mediator concerning              RJS   0.20      $250.00       $50.00
             scheduling x2

11/15/2022   Received and reviewed correspondence from                  AF    0.30      $150.00       $45.00
             mediator's office and Defense counsel regarding
             scheduling video conference; Conferred with principal
             attorney regarding same

11/15/2022   Conferred with paralegal regarding correspondence          AJB   0.10      $500.00       $50.00
             from mediator's office and Defense counsel regarding
             scheduling video conference

11/16/2022   e-mail: Corresponded with mediator concerning              RJS   0.10      $250.00       $25.00
             mediation link

11/21/2022   e-mail: R+R from MM to AF re motion and mediator           AJB   0.10      $500.00       $50.00

11/21/2022   e-mail: R+R from AF to MM re mediation and Michael         AJB   0.10      $500.00       $50.00
             Wolford

11/21/2022   e-mail: R+R from MM to AF re 11/16 conference              AJB   0.25      $500.00     $125.00

11/21/2022   Review: Receive and review motion by Def's for             AJB   0.25      $500.00     $125.00
             extension of time to complete mediation.

11/21/2022   Received and reviewed correspondence from Defense          AF    0.20      $150.00       $30.00
             counsel regarding mediation; Conferred with principal
             attorney regarding same; Drafted correspondence to
             Defense counsel and mediator

11/21/2022   Conferred with paralegal concerning correspondence         AJB   0.10      $500.00       $50.00
             from Defense counsel regarding mediation

11/28/2022   e-mail: Corresponded with AB concerning mediation          RJS   0.10      $250.00       $25.00
             link

11/29/2022   Review: Receive and review text order granting to          AJB   0.10      $500.00       $50.00
             complete mediation.

12/12/2022   e-mail: email from client requesting link                  AJB   0.10      $500.00       $50.00

12/12/2022   Review: Conference with client (.25) and mediation with    AJB   0.75      $500.00     $375.00
             Marina Murray, Wolford, and client

12/12/2022   Prepared for and attended telephone conference with        AJB   0.25      $500.00     $125.00
             mediator and Defense counsel

12/13/2022   e-mail: Corresponded with AF concerning mediator           RJS   0.30      $250.00       $75.00
             letter x3

12/14/2022   A103 Draft/revise L250 Other Written Motions and           AJB   1.80      $500.00     $900.00
             Submissions: Draft, revise and edit motion for sanctions
             for repeated bad faith in mediation - including research
             of WD rules re mediation and notice to the court of no-
             pay position from prior order

12/15/2022   A103 Draft/revise L250 Other Written Motions and           AF    0.35      $150.00       $52.50
             Submissions: Draft motion to file sanctions motion




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             under seal, revise and edit motion re: bad faith in
             mediation -

12/20/2022   A103 Draft/revise L250 Other Written Motions and          AF    0.25      $150.00       $37.50
             Submissions: Receive and review text order granting
             motion to file under seal and scheduling response and
             reply deadlines - record deadlines.

01/03/2023   A104 Review/analyze L250 Other Written Motions and        AJB   0.25      $500.00     $125.00
             Submissions: Receive and review defendants'
             response to plaintiff's motion for sanctions and motion
             to seal

01/06/2023   ECF R&R: receive and review order granting                AF    0.10      $150.00       $15.00
             defendants' motion to file under seal

01/09/2023   A103 Draft/revise L250 Other Written Motions and          AJB   1.85      $500.00     $925.00
             Submissions: Drafted Reply to Def's response to
             motion for sanctions and motion to seal Reply

01/10/2023   ECF R&R: Text order granting motion to reply under        AF    0.10      $150.00       $15.00
             seal

01/18/2023   ECF R&R: Receive and review Text order scheduling         AF    0.10      $150.00       $15.00
             status conference and updated calendars

01/20/2023   e-mail: Corresponded with Marina Murray concerning        RJS   0.10      $250.00       $25.00
             ADR sanctions

01/20/2023   e-mail: Corresponded with mediator concerning             RJS   0.50      $250.00     $125.00
             scheduling x5

01/20/2023   Received and reviewed correspondence from Defense         AF    0.25      $150.00       $37.50
             counsel to Court's mediation administrator; Conferred
             with principal attorney regarding same; Drafted
             correspondence to mediation administrator

01/20/2023   Conferred with paralegal regarding correspondence         AJB   0.20      $500.00     $100.00
             from Defense counsel to Court's mediation
             administrator; Reviewed said correspondence

02/23/2023   e-mail: Corresponded with AF concerning potentially       RJS   0.50      $250.00     $125.00
             applicable appellate decision and review of same

03/10/2023   e-mail: Corresponded with counsel concerning              RJS   0.10      $250.00       $25.00
             mediation bill

03/31/2023   e-mail: Corresponded with AF concerning mediation bill    RJS   0.10      $250.00       $25.00
             response from counsel

04/19/2023   Court Appearance: Prepare and participate Status          AJB   0.50      $500.00     $250.00
             conference with Judge Skretny - withdrew request for
             sanctions. Scheduled trial and pretrial deadlines.

04/20/2023   ECF R&R: Receive and review pretrial order; updated       AF    0.20      $150.00       $30.00
             calendar with dates for trial and pretrial, confer with
             AJB re dates.




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05/17/2023   Pretrial Papers/Prep: Document: SPRING Proposed            AJB   3.50      $500.00    $1,750.00
             voir dire, jury instructions, verdict form, trial brief,
             witness list and exhibit list

05/17/2023   Pretrial Papers/Prep: Drafting Documents: Proposed         AF    4.50      $150.00     $675.00
             voir dire, jury instructions, verdict form, trial brief,
             witness list and exhibit list

05/18/2023   Receive and review Defendants' pretrial papers             AJB   0.40      $500.00     $200.00

05/18/2023   Pretrial Papers/Prep: Receive and review Defendants'       AF    0.50      $150.00       $75.00
             pretrial papers

05/18/2023   Pretrial Papers/Prep: Meet with AF & AJB, review and       RJS   0.50      $250.00     $125.00
             discuss pretrial papers

05/29/2023   Pretrial Papers/Prep: Analyzed issues for motion in        RJS   3.10      $250.00     $775.00
             limine, began prepare and begin draft of Mem of law,
             Meet with AJB regarding issues surrounding wrongful
             death evidence being offered in Federal court.

05/29/2023   Pretrial Papers/Prep: Meet and confer with Rob             AJB   0.40      $500.00     $200.00
             re:issues for motion in limine and wrongful death
             evidence being offered in Federal court action

05/29/2023   Pretrial Papers/Prep: Meet and confer with Anthony         AJB   0.20      $500.00     $100.00
             re:issues for motion in limine and wrongful death
             evidence being offered in Federal court action

05/29/2023   Pretrial Papers/Prep: Meet and confer with AJ on           AF    0.20      $150.00       $30.00
             issues about wrongful death being offered in Federal
             court action

05/30/2023   e-mail: Corresponded with counsel concerning trial         RJS   0.10      $250.00       $25.00
             exhibits

05/31/2023   e-mail: Corresponded with AF concerning draft motion       RJS   0.50      $250.00     $125.00
             in limine and review of same

05/31/2023   e-mail: Corresponded with AF concerning additions to       RJS   0.20      $250.00       $50.00
             motion in limine

05/31/2023   Research: Conducted research for legal authority           RJS   0.40      $250.00     $100.00
             concerning the issue of admissibility of reports

05/31/2023   Motion: Drafted additions to motions in limine             RJS   0.30      $250.00       $75.00

05/31/2023   Pretrial Papers/Prep: Continue review and draft and        RJS   0.80      $250.00     $200.00
             edit and finalize motions in limine including legal
             research Rehabilitation Act and ADA and wrongful
             death for filing via ecf

05/31/2023   Pretrial Papers/Prep: Review Motions in limine and         AJB   1.25      $500.00     $625.00
             draft Atty Affm regarding same

06/01/2023   ECF R&R: Received and Review Defs motions in limine        AF    0.25      $150.00       $37.50

06/01/2023   ECF R&R: Confer with AF re: Defs motions in limine         AJB   0.20      $500.00     $100.00




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06/05/2023   e-mail: email from client re witness                         AJB   0.20      $500.00     $100.00

06/05/2023   e-mail: email from client re scholarship recipients          AJB   0.20      $500.00     $100.00

06/06/2023   e-mail: Corresponded with Marina Murray concerning           RJS   0.20      $250.00       $50.00
             extension request x2

06/06/2023   Pretrial Papers/Prep: Analyze and conduct research           RJS   3.10      $250.00     $775.00
             regarding Defs' motions in limine,

06/07/2023   Pretrial Papers/Prep: Continue drafting response to          RJS   1.25      $250.00     $312.50
             Defs' motions in limine,

06/08/2023   A105 Communicate (in firm) L440 Other Trial                  RJS   0.75      $250.00     $187.50
             Preparation and Support: Corresponded with AF
             concerning draft briefing on timeliness and review of
             same

06/08/2023   A105 Communicate (in firm) L440 Other Trial                  RJS   0.25      $250.00       $62.50
             Preparation and Support: Corresponded with AF
             concerning draft briefing on hearsay and review of
             same

06/08/2023   e-mail: Corresponded with AF concerning draft motion         RJS   0.10      $250.00       $25.00
             in limine response

06/08/2023   Motion Response: Drafting and editing of motion in           RJS   1.50      $250.00     $375.00
             limine response

06/08/2023   e-mail: Corresponded with AF concerning additional           RJS   0.30      $250.00       $75.00
             point for motion in limine response and review of same

06/08/2023   A105 Communicate (in firm) L440 Other Trial                  AF    1.00      $150.00     $150.00
             Preparation and Support: Conferred with Associate atty
             re: response to motions in limine and email
             correspondence regarding drafts

06/09/2023   ECF R&R: Review and receive Defs response to Pltf's          AF    0.25      $150.00       $37.50
             Motion in limine

06/09/2023   ECF R&R: Review and receive Defs response to Pltf's          AJB   0.25      $500.00     $125.00
             Motion in limine

06/09/2023   ECF R&R: Review and receive Defs response to Pltf's          AJB   0.25      $500.00     $125.00
             Motion in limine

06/12/2023   E113 Subpoena fees: trial subpoenas 6.12.23                  AJB   1.00      $217.32     $217.32

06/13/2023   ECF R&R: Analyze Def's response to Pltfs Motion in           RJS   1.60      $250.00     $400.00
             limine and Draft reply thereto

06/14/2023   e-mail: Corresponded with AJB concerning draft               RJS   0.20      $250.00       $50.00
             additions to response to Defs motion in limine x2

06/14/2023   ECF R&R: Confer with AJB and AF regarding Def's              RJS   1.60      $250.00     $400.00
             response to Pltfs Motion in limine and finalized and filed
             reply thereto




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06/14/2023   Meeting: Confer with RS and AF regarding Def's               AJB   0.50      $500.00     $250.00
             response to Pltfs Motion in limine and reply thereto

06/14/2023   Meeting: Confer with RS and AJB regarding Def's              AF    0.50      $150.00       $75.00
             response to Pltfs Motion in limine and final reply thereto

06/15/2023   e-mail: Corresponded with counsel concerning                 RJS   0.10      $250.00       $25.00
             additional exhibit

06/15/2023   Pretrial Papers/Prep: Received and review Defs' Reply        AF    0.40      $150.00       $60.00
             to Pltf's opp t6o Def's Motion in Limine and draft
             amended exhibit list

06/15/2023   Pretrial Papers/Prep: Received and review text orders        AF    0.20      $150.00       $30.00
             reassigning case to Judge Sinatra

06/15/2023   A104 Review/analyze L440 Other Trial Preparation and         AJB   0.10      $500.00       $50.00
             Support: Received and review text orders reassigning
             case to Judge Sinatra

06/15/2023   Phone Call: Conferred with client regarding                  AJB   0.40      $500.00     $200.00
             reassignment of case to Judge Sinatra and trial prep
             regarding motions in limine, etc.

06/16/2023   ECF R&R: Receive and review text order scheduling            AF    0.35      $150.00       $52.50
             status conf; conferred with AJB re same; review and
             revise letter to court regarding the status conference

06/16/2023   Pretrial Papers/Prep: Conferred with AF regarding text       AJB   0.50      $500.00     $250.00
             notice, scheduling status conference; drafted letter to
             court regarding same.

06/20/2023   Pretrial Papers/Prep: Draft Final Rule 26, confer with       AF    3.00      $150.00     $450.00
             AJB regarding same, revised and filed rule 26; received
             and reviewed status conference resched. notice from
             court and R & R Notice of Appearance from Joseph
             Matteliano

06/20/2023   Pretrial Papers/Prep: Review of draft Final Rule 26,         AJB   1.25      $500.00     $625.00
             confer with client and AF regarding same as well as
             status conference resched. notice from court and
             Notice of Appearance from Joseph Matteliano

06/21/2023   e-mail: Corresponded with Diegelman concerning               RJS   0.10      $250.00       $25.00
             records

06/21/2023   e-mail: Corresponded with staff concerning                   RJS   0.10      $250.00       $25.00
             communication from LCSW

06/22/2023   Preparation: Prep for Status Conference with Judge           AJB   1.00      $500.00     $500.00
             Sinatra June 23, 2023; conf with client

06/22/2023   Pretrial Papers/Prep: Draft Notice of Appearance and         RJS   0.20      $250.00       $50.00
             file

06/23/2023   Court Appearance: ct app sinatra 6.23                        AJB   0.25      $500.00     $125.00

06/23/2023   Preparation: Prep for Status Conference with Judge           RJS   0.60      $250.00     $150.00




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             Sinatra June 23, 2023

06/23/2023   Travel: Travel to buffalo from office for status        AJB   3.50      $500.00    $1,750.00
             conference with Judge Sinatra June 23, 2023

06/23/2023   Travel: Travel to buffalo from office for status        RJS   3.50      $250.00     $875.00
             conference with Judge Sinatra June 23, 2023

06/23/2023   Travel: Travel from Buffalo to office from status       AJB   3.50      $500.00    $1,750.00
             conference june 23, 2023

06/23/2023   Travel: Travel from Buffalo to office from status       RJS   3.50      $250.00     $875.00
             conference june 23, 2023

06/23/2023   e-mail: Corresponded with counsel concerning medical    RJS   0.10      $250.00       $25.00
             records

06/23/2023   e-mail: Corresponded with counsel concerning            RJS   0.10      $250.00       $25.00
             settlement conference

06/23/2023   E110 Out-of-town travel: Parking 6.23.23                AJB   1.00         $4.10       $4.10

06/23/2023   E110 Out-of-town travel: meals 6.23.23                  AJB   1.00        $31.06      $31.06

06/23/2023   Court Appearance: ct app sinatra 6.23                   RJS   0.25      $250.00       $62.50

06/23/2023   Mileage: Travel to/from Buffalo                         AF    1.00      $254.60     $254.60

06/26/2023   Letter: Draft letter to Judge Schroeder requesting      AJB   0.25      $500.00     $125.00
             settlement conference be held virtually

06/26/2023   Phone Call: PC with client re: emotional toll and       AJB   0.25      $500.00     $125.00
             settlement conference to be held virtually?

06/26/2023   ECF R&R: Receive and review supplemental pretrial       AF    0.20      $150.00       $30.00
             order and update calendar

07/05/2023   e-mail: email inquiry from client                       AJB   0.10      $500.00       $50.00

07/05/2023   Preparation: Prep for Settlement Conference with        AJB   1.00      $500.00     $500.00
             Judge Schroder on july 6, 2023; review caselaw re:ada
             and bully cases

07/06/2023   Travel: Travel to Buffalo from office July 6, 2023      AJB   3.50      $500.00    $1,750.00

07/06/2023   Court Appearance: Confer with client and settlement     AJB   3.00      $500.00    $1,500.00
             conference with judge Schroeder on july 6, 2023

07/06/2023   Travel: Travel from buffalo to office July 6, 2023      AJB   3.50      $500.00    $1,750.00

07/06/2023   Mileage: Travel to/from Buffalo                         AF    1.00      $254.60     $254.60

07/11/2023   e-mail: Corresponded with court concerning subpoena     RJS   0.10      $250.00       $25.00
             response

07/12/2023   e-mail: Corresponded with court concerning subpoena     RJS   0.10      $250.00       $25.00
             response

07/12/2023   e-mail: Corresponded with court concerning subpoena     RJS   0.40      $250.00     $100.00




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             response x5

07/20/2023   E110 Out-of-town travel: parking 7.20.23                      AJB   1.00         $0.60       $0.60

07/20/2023   Meals at trial: 7.20.23 meals PT conference                   AJB   1.00        $33.90      $33.90

07/20/2023   Court Appearance: Pretrial Appearance - rulings on            AJB   2.50      $500.00    $1,250.00
             motions in limine and trial planning

07/20/2023   Court Appearance: Pretrial Appearance - rulings on            RJS   2.50      $250.00     $625.00
             motions in limine and trial planning

07/20/2023   Travel: Travel from office to court in buffalo for pretrial   AJB   3.50      $500.00    $1,750.00
             conference and decisions on motions in limine

07/20/2023   Travel: Travel to office from court in buffalo for pretrial   AJB   3.50      $500.00    $1,750.00
             conference and decisions on motions in limine

07/20/2023   Travel: Travel from office to court in buffalo for pretrial   RJS   3.50      $250.00     $875.00
             conference and decisions on motions in limine

07/20/2023   Travel: Travel to office from court in buffalo for pretrial   RJS   3.50      $250.00     $875.00
             conference and decisions on motions in limine

07/20/2023   Mileage: Travel to/from Buffalo                               AF    1.00      $254.60     $254.60

07/21/2023   ECF R&R: Receive and review Order on Motions in               AF    0.25      $150.00       $37.50
             limine and text notice setting deadlines for
             supplemental pretrial submissions - updated calendars

07/24/2023   e-mail: email from client re witnesses                        AJB   0.20      $500.00     $100.00

07/24/2023   e-mail: Corresponded with court concerning conference         RJS   0.50      $250.00     $125.00
             x7

07/27/2023   e-mail: Corresponded with counsel concerning witness          RJS   0.30      $250.00       $75.00
             addresses x3

07/31/2023   e-mail: email from client re Brendan Scott                    AJB   0.20      $500.00     $100.00

08/04/2023   Pretrial Papers/Prep: Receive and review supplemental         AF    0.20      $150.00       $30.00
             submission in limine regarding "me too" evidence

08/17/2023   e-mail: Corresponded with court concerning letter             RJS   0.50      $250.00     $125.00
             request for extension

08/17/2023   Letter: Draft letter requesting extension to respond to       RJS   0.40      $250.00     $100.00
             most recent motion in limine; received and reviewed
             text order granting same

08/21/2023   Preparation: Analyzed Def's motion in imine re "me too"       RJS   2.50      $250.00     $625.00
             conducted legal research and admissibility and confer
             with AF and AJB regarding same

08/21/2023   Meeting: Conferred with Associate and principal atty re:      AF    0.50      $150.00       $75.00
             Def's motion in imine and "me too" legal research on
             admissibility




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08/21/2023   Meeting: Conferred with RS and AF re: Def's motion in     AJB   0.40      $500.00     $200.00
             imine and "me too" admissibility

08/22/2023   e-mail: Corresponded with Def's firm concerning           RJS   0.10      $250.00       $25.00
             authorization requests

08/23/2023   e-mail: Corresponded with Def's firm concerning           RJS   0.20      $250.00       $50.00
             authorization requests x2

08/28/2023   e-mail: Corresponded with court concerning trial          RJS   0.30      $250.00       $75.00
             schedule x3

08/28/2023   ECF R&R: Receive and review Defs' reply to Pltf's         RJS   0.20      $250.00       $50.00
             response on motion in limine - advise AJB of same

08/28/2023   A105 Communicate (in firm) L190 Other Case                AJB   0.10      $500.00       $50.00
             Assessment, Development and Administration: Re:
             Defs' reply to Pltf's response on motion in limine - as
             per Rob

09/05/2023   e-mail: Corresponded with counsel concerning status       RJS   0.25      $250.00       $62.50
             report

09/05/2023   ECF R&R: Receive and review Court Order granting          RJS   0.15      $250.00       $37.50
             Def's motion in limine

09/07/2023   Research: Blogs about Bullying                            AJB   0.50      $500.00     $250.00

09/11/2023   e-mail: Corresponded with counsel concerning              RJS   0.40      $250.00     $100.00
             proposed stipulated facts and review of same

09/12/2023   e-mail: Corresponded with court concerning trial          RJS   0.10      $250.00       $25.00
             schedule

09/12/2023   Pretrial Papers/Prep: Reviewed Def's trial exhibits and   AJB   1.80      $500.00     $900.00
             revised/edited objections to file with court; conferred
             with AF regarding same.

09/12/2023   Pretrial Papers/Prep: Reviewed Def's trial exhibits and   AF    2.60      $150.00     $390.00
             revised/edited objections to file with court; conferred
             with AJB regarding same; received and reviewed Def's
             objections to Pltf's Exhibits.

09/12/2023   Pretrial Papers/Prep: Reviewed Def's trial exhibits and   AF    2.60      $150.00     $390.00
             revised/edited objections to file with court; conferred
             with AJB regarding same; received and reviewed Def's
             objections to Pltf's Exhibits.

09/13/2023   e-mail: Corresponded with court concerning trial          RJS   0.10      $250.00       $25.00
             exhibits

09/14/2023   Process Service: Mailing of Subpoenas to Process          NC    1.00        $28.75      $28.75
             Server

09/14/2023   e-mail: email to client re subpoena                       AJB   0.10      $500.00       $50.00

09/14/2023   e-mail: Corresponded with counsel concerning Scott        RJS   0.20      $250.00       $50.00
             deposition x2




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09/14/2023   e-mail: Corresponded with client concerning stipulated     RJS   0.10      $250.00       $25.00
             facts

09/15/2023   e-mail: email to client re stipulated facts                AJB   0.25      $500.00     $125.00

09/15/2023   e-mail: email to client re witnesses and proposed          AJB   0.25      $500.00     $125.00
             stipulation of facts

09/15/2023   e-mail: email to client re stip                            AJB   0.10      $500.00       $50.00

09/15/2023   e-mail: email to Marina resp to her email re stip          AJB   0.25      $500.00     $125.00

09/15/2023   e-mail: Corresponded with AF concerning Def's              RJS   0.30      $250.00       $75.00
             additional disclosure of 6/3/21 and review of same

09/18/2023   e-mail: email to client                                    AJB   0.20      $500.00     $100.00

09/19/2023   Process Service: billed 09/19/23                           AM    1.00      $215.00     $215.00

09/19/2023   e-mail: Corresponded with counsel concerning               RJS   0.10      $250.00       $25.00
             subpoenas served for trial

09/19/2023   e-mail: Corresponded with court concerning exhibits        RJS   0.10      $250.00       $25.00
             and scott deposition

09/20/2023   e-mail: Corresponded with court concerning remaining       RJS   0.25      $250.00       $62.50
             defendants x2

09/21/2023   Process Service: Service of Trial Subpoenas                NC    1.00      $545.00     $545.00

09/21/2023   e-mail: email from client requesting deposition link       AJB   0.10      $500.00       $50.00

09/21/2023   Discovery: Deposition of Brendan Scott on September        AJB   1.10      $500.00     $550.00
             21,
             2023

09/21/2023   e-mail: Corresponded with counsel concerning link for      RJS   0.10      $250.00       $25.00
             deposition Scott

09/21/2023   e-mail: Corresponded with court concerning exhibits x4     RJS   0.40      $250.00     $100.00

09/21/2023   Reorganized and assembled Plaintiff's trial exhibits;      AF    4.50      $150.00     $675.00
             Began drafting Plaintiff's designations of EBT testimony

09/22/2023   e-mail: email from Anthony to Keri re IEP                  AJB   0.10      $500.00       $50.00

09/22/2023   e-mail: email from Keri re IEP                             AJB   0.10      $500.00       $50.00

09/22/2023   e-mail: email from Keri re IEP                             AJB   0.10      $500.00       $50.00

09/22/2023   e-mail: email from Keri re IEP                             AJB   0.10      $500.00       $50.00

09/22/2023   e-mail: email from Keri re IEP                             AJB   0.10      $500.00       $50.00

09/22/2023   e-mail: email from client re Tim McMullen                  AJB   0.20      $500.00     $100.00

09/22/2023   e-mail: email from client re Gilbert                       AJB   0.10      $500.00       $50.00

09/22/2023   e-mail: email from client with Facebook screenshots        AJB   0.25      $500.00     $125.00




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09/22/2023   e-mail: email from client re Santa Maria with attachment   AJB   0.20      $500.00     $100.00

09/22/2023   e-mail: email from client re DASA with attachment          AJB   0.25      $500.00     $125.00

09/22/2023   e-mail: email from client re Greg, 2 attachments           AJB   0.20      $500.00     $100.00

09/22/2023   e-mail: email from client re attachment and tics           AJB   0.20      $500.00     $100.00

09/22/2023   e-mail: email from Keri Spring re soccer coach letter      AJB   0.20      $500.00     $100.00
             with attachment

09/22/2023   e-mail: replaced dark files and attachment                 AJB   0.20      $500.00     $100.00

09/22/2023   e-mail: letter from coach with attachment                  AJB   0.20      $500.00     $100.00

09/22/2023   e-mail: email re artwork with attachment                   AJB   0.20      $500.00     $100.00

09/22/2023   e-mail: Corresponded with AF concerning record             RJS   0.10      $250.00       $25.00
             request

09/22/2023   e-mail: Corresponded with court concerning letter          RJS   0.20      $250.00       $50.00
             request and subpoena x2

09/22/2023   e-mail: Corresponded with process server concerning        RJS   0.20      $250.00       $50.00
             subpoena x2

09/22/2023   Participated in conference with witness Janet Mitchell     AF    1.00      $150.00     $150.00

09/22/2023   Participated in conference with witness Janet Mitchell     AJB   1.00      $500.00     $500.00

09/22/2023   Drafted correspondence to Court requesting permission      AJB   0.25      $500.00     $125.00
             for witness Janet Mitchell to appear remotely for trial

09/22/2023   Continued to reorganize/assemble Plaintiff's trial         AF    2.75      $150.00     $412.50
             exhibits; Drafted Second Amended Exhibit List and
             Amended Witness List; Conferred with principal
             attorney regarding same

09/22/2023   Reviewed and revised Second Amended Exhibit List           AJB   0.50      $500.00     $250.00
             and Amended Exhibit List; Conferred with paralegal
             regarding same

09/22/2023   Continue to draft Plaintiff's proposed EBT designations    AF    1.00      $150.00     $150.00

09/22/2023   Assembled exhibits for court in two binders; Tended to     AF    3.50      $150.00     $525.00
             delivery of same to FedEx for delivery to Court

09/23/2023   e-mail: headshots with attachments                         AJB   0.25      $500.00     $125.00

09/23/2023   E107 Delivery services/messengers: FEDEX to USDC           AJB   1.00        $75.80      $75.80
             WDNY - Documents re:Trial

09/24/2023   Continued drafting Plaintiff's EBT designations;           AF    2.00      $150.00     $300.00
             Conferred with principal attorney regarding same

09/24/2023   Conferred with paralegal regarding draft EBT               AJB   0.75      $500.00     $375.00
             designations; Reviewed draft of same

09/25/2023   e-mail: Corresponded with Amy Trass concerning letter      RJS   0.20      $250.00       $50.00




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09/25/2023   e-mail: Corresponded with court concerning exhibits x2     RJS   0.20      $250.00       $50.00

09/25/2023   e-mail: Corresponded with court concerning joint           RJS   0.30      $250.00       $75.00
             statement x3

09/25/2023   Received and reviewed Defendants' Amended Exhibit          AF    0.20      $150.00       $30.00
             List and Text Order denying Plaintiff's request to allow
             witness to appear by video conference

09/25/2023   Received and reviewed Defendants' Amended Exhibit          AJB   0.20      $500.00     $100.00
             List and Text Order denying Plaintiff's request to allow
             witness to appear by video conference

09/25/2023   Revised and finalized Plaintiff's EBT designations;        AF    1.00      $150.00     $150.00
             Conferred with principal attorney regarding same;
             Received and reviewed Defendants' objections to
             Plaintiff's Second Amended Exhibit List

09/25/2023   Conferred with paralegal regarding Plaintiff's EBT         AJB   0.50      $500.00     $250.00
             designations; Reviewed and revised same

09/26/2023   Process Service: Services of Subpoena on Geelan and        NC    1.00      $334.54     $334.54
             to Milestone Psy.

09/26/2023   Process Service: Service of Subpoena upon NYS Dept         NC    1.00        $55.00      $55.00
             of Ed.

09/26/2023   e-mail: Corresponded with process server concerning        RJS   0.10      $250.00       $25.00
             service

09/26/2023   e-mail: Corresponded with court concerning peremptory      RJS   0.10      $250.00       $25.00
             challenges

09/26/2023   e-mail: Corresponded with AF concerning newspaper          RJS   0.20      $250.00       $50.00
             clippings

09/26/2023   Drafted Plaintiff's objections to Defendants' proposed     AF    2.25      $150.00     $337.50
             jury charges; Conferred with principal attorney
             regarding same; Revised and finalized said objections

09/26/2023   Revised Plaintiff's draft objections to Defendants'        AJB   1.00      $500.00     $500.00
             proposed jury charges and conferred with paralegal
             regarding same

09/27/2023   e-mail: Corresponded with court concerning exhibit x2      RJS   0.20      $250.00       $50.00

09/27/2023   e-mail: Corresponded with Diegelman concerning             RJS   0.20      $250.00       $50.00
             meeting x2

09/27/2023   e-mail: Corresponded with court concerning exhibits        RJS   0.20      $250.00       $50.00

09/27/2023   E107 Delivery services/messengers:                         AJB   1.00        $35.92      $35.92
             FEDEX78433982743 Docs to Court for Trial

09/27/2023   Conferred with principal attorney regarding new exhibits   AF    0.25      $150.00       $37.50
             and amending the Exhibit List; Drafted Third Amended
             Exhibit List




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09/27/2023   Conferred with paralegal regarding new exhibits and       AJB   0.15      $500.00       $75.00
             amending the Exhibit List; Reviewed Third Amended
             Exhibit List

09/28/2023   Process Service: dated 09/28/23                           AM    1.00      $110.00     $110.00

09/28/2023   Preparation: Pre trial conference prep w/ AJ for 09/28/   RJS   0.80      $250.00     $200.00
             23 ct conf.

09/28/2023   Preparation: Pre trial conference prep 09/28/23, review   AJB   1.00      $500.00     $500.00
             dkt, & pt papers

09/28/2023   Court Appearance: pre trial conf meeting via phone 09/    AJB   0.50      $500.00     $250.00
             28/23

09/28/2023   Meeting: pre trial conf meeting on phone                  RJS   0.50      $250.00     $125.00

09/28/2023   e-mail: Corresponded with court concerning amended        RJS   0.10      $250.00       $25.00
             proposed jury instructions

09/28/2023   e-mail: Corresponded with Dennis Schaeffer                RJS   0.35      $250.00       $87.50
             concerning subpoena

09/28/2023   E113 Subpoena fees: 335.54 + 55.00 trial subpoenas        AJB   1.00      $389.54     $389.54
             service and witness fees

09/28/2023   Participated in meeting with Client concerning trial      AF    1.00      $150.00     $150.00
             preparation and earlier conference with the Court

09/28/2023   Participated in meeting with Client concerning trial      AJB   1.00      $500.00     $500.00
             preparation and earlier conference with the Court

09/29/2023   e-mail: email from client re records                      AJB   0.20      $500.00     $100.00

09/29/2023   e-mail: Corresponded with counsel concerning witness      RJS   0.75      $250.00     $187.50
             order, deposition designations, witness appearance x10

09/30/2023   Participated in conference with Clients to prepare for    AF    3.00      $150.00     $450.00
             trial

09/30/2023   Participated in conference with Clients to prepare for    AJB   3.00      $500.00    $1,500.00
             trial

09/30/2023   Participated in conference with Clients to prepare for    RJS   3.00      $250.00     $750.00
             trial

10/01/2023   e-mail: email from client re doctor with attachment       AJB   0.20      $500.00     $100.00

10/01/2023   Travel: AJ Travel to Buffalo for trial commencing Oct     AJB   3.50      $500.00    $1,750.00
             1st of 2023

10/01/2023   Travel: Anthony Travel to Buffalo for trial commencing    AF    3.50      $150.00     $525.00
             Oct 1st of 2023

10/01/2023   Travel: Rob Travel to Buffalo for trial commencing Oct    RJS   3.50      $250.00     $875.00
             1st of 2023

10/01/2023   Preparation: AJ Trial Prep for October 1, 2023            AJB   6.50      $500.00    $3,250.00




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             3:30pm-10pm

10/01/2023   Preparation: Anthony Trial Prep for Oct 1, 2023 3:30pm     AF    6.50      $150.00     $975.00
             -10pm

10/01/2023   Preparation: Rob trial prep for Oct 1, 2023                RJS   6.50      $250.00    $1,625.00
             3:30pm-10pm

10/01/2023   E110 Out-of-town travel: meals on 10.1.23                  AJB   1.00        $99.34      $99.34

10/01/2023   Mileage: Travel to Buffalo                                 AF    1.00      $254.60     $254.60

10/02/2023   Preparation: Morning Preparation in advance of trial       AJB   2.00      $500.00    $1,000.00
             Oct 2, 2023

10/02/2023   Preparation: Morning Preparation in advance of trial       AF    2.00      $150.00     $300.00
             Oct 2, 2023

10/02/2023   Preparation: Morning Preparation in advance of trial oct   RJS   2.00      $250.00     $500.00
             2, 2023

10/02/2023   Travel: AJ Travel time to court oct 2, 2023                AJB   0.25      $500.00     $125.00

10/02/2023   Travel: Anthony Travel time to court oct 2, 2023           AF    0.25      $150.00       $37.50

10/02/2023   Travel: Rob Travel time to court oct 2, 2023               RJS   0.25      $250.00       $62.50

10/02/2023   Meeting: Morning of Oct 2, 2023 conferred with client      AJB   0.50      $500.00     $250.00
             before trial

10/02/2023   Meeting: Morning of Oct 2, 2023 conferred with client      AF    0.50      $150.00       $75.00
             before trial

10/02/2023   Meeting: Morning of Oct 2, 2023 conferred with client      RJS   0.50      $250.00     $125.00
             before trial

10/02/2023   Trial: Trial Oct 2, 2023 oct 2, 2023 AJ                    AJB   7.50      $500.00    $3,750.00

10/02/2023   Trial: Trial 9am-4:30pm oct 2, 2023 Anthony                AF    7.50      $150.00    $1,125.00

10/02/2023   Trial: Trial 9am-4:30pm Oct 2, 2023 Rob                    RJS   7.50      $250.00    $1,875.00

10/02/2023   Travel: Travel from court house to hotel oct 2, 2023 AJ    AJB   0.25      $500.00     $125.00

10/02/2023   Travel: Travel from court house to hotel oct 2, 2023       AF    0.25      $150.00       $37.50
             Anthony

10/02/2023   Travel: Travel from court house to hotel oct 2, 2023       RJS   0.25      $250.00       $62.50
             Rob

10/02/2023   Preparation: 4:30pm-10pm Trial prep Oct 2, 2023            AJB   5.50      $500.00    $2,750.00

10/02/2023   Preparation: 4:30pm-10pm Trial prep oct 2, 2023            AF    5.50      $150.00     $825.00

10/02/2023   Preparation: 4:30pm-10pm Trial prep oct 2, 2023            RJS   5.50      $250.00    $1,375.00

10/02/2023   e-mail: Corresponded with NC concerning ebt                RJS   0.20      $250.00       $50.00
             designations and objections




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10/02/2023   E124 Other: Purchase of Display boards, rolling cases,     AJB   1.00      $160.92     $160.92
             etc., at Office Depot Cheektowaga for trial

10/02/2023   E107 Delivery services/messengers: Papasergi               AJB   1.00        $41.20      $41.20
             Subpoena check

10/02/2023   E110 Out-of-town travel: parking 10.2.23                   AJB   1.00        $16.60      $16.60

10/02/2023   E110 Out-of-town travel: meals for 10.2.23                 AJB   1.00        $37.27      $37.27

10/03/2023   Preparation: Preparation in advance of trial               AJB   2.00      $500.00    $1,000.00

10/03/2023   Preparation: Preparation in advance of trial               AF    2.00      $150.00     $300.00

10/03/2023   Preparation: Preparation in advance of trial Oct 3         RJS   2.00      $250.00     $500.00

10/03/2023   Travel: Oct 3, 2023 travel time to court                   AJB   0.25      $500.00     $125.00

10/03/2023   Travel: Oct 3, 2023 travel time to court                   AF    0.25      $150.00       $37.50

10/03/2023   Travel: Oct 3, 2023 travel time to court                   RJS   0.25      $250.00       $62.50

10/03/2023   Meeting: Conferring with clients in advance of trial oct   AJB   0.75      $500.00     $375.00
             3, 2023

10/03/2023   Meeting: Conferring with clients in advance of trial oct   AF    0.75      $150.00     $112.50
             3, 2023

10/03/2023   Meeting: Conferring with clients in advance of trial oct   RJS   0.75      $250.00     $187.50
             3, 2023

10/03/2023   Trial: Trial time oct 3, 2023                              AJB   8.00      $500.00    $4,000.00

10/03/2023   Trial: Trial time oct 3, 2023                              AF    8.00      $150.00    $1,200.00

10/03/2023   Trial: Trial time oct 3, 2023                              RJS   8.00      $250.00    $2,000.00

10/03/2023   Travel: from court house to hotel oct 3, 2023              AJB   0.25      $500.00     $125.00

10/03/2023   Travel: from court house to hotel oct 3, 2023              AF    0.25      $150.00       $37.50

10/03/2023   Travel: from court house to hotel oct 3, 2023              RJS   0.25      $250.00       $62.50

10/03/2023   Preparation: Preparation after trial oct 3, 2023           AJB   4.75      $500.00    $2,375.00

10/03/2023   Preparation: Preparation after trial oct 3, 2023           AF    4.75      $150.00     $712.50

10/03/2023   Preparation: Preparation after trial oct 3, 2023           RJS   4.75      $250.00    $1,187.50

10/03/2023   e-mail: Corresponded with counsel concerning               RJS   0.50      $250.00     $125.00
             witnesses and EBT designations x4

10/03/2023   E111 Meals: Meals 10.3.23                                  AJB   1.00      $138.48     $138.48

10/03/2023   Parking: parking 10.3.23                                   AJB   1.00        $15.60      $15.60

10/04/2023   Preparation: Prep in advance of trial oct 4, 2023          AJB   2.00      $500.00    $1,000.00

10/04/2023   Preparation: Prep in advance of trial oct 4, 2023          AF    2.00      $150.00     $300.00




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10/04/2023   Preparation: Prep in advance of trial oct 4, 2023          RJS   2.00      $250.00     $500.00

10/04/2023   Travel: travel time to court house oct 4, 2023             AJB   0.25      $500.00     $125.00

10/04/2023   Travel: travel time to court house oct 4, 2023             AF    0.25      $150.00       $37.50

10/04/2023   Travel: travel time to court house oct 4, 2023             RJS   0.25      $250.00       $62.50

10/04/2023   Meeting: Conferring with client before trial oct 4, 2023   AJB   0.50      $500.00     $250.00

10/04/2023   Meeting: Conferring with client before trial oct 4, 2023   AF    0.75      $150.00     $112.50

10/04/2023   Meeting: Conferring with client before trial oct 4, 2023   RJS   0.75      $250.00     $187.50

10/04/2023   Trial: Time of trial oct 4, 2023 9am-5pm                   AJB   8.00      $500.00    $4,000.00

10/04/2023   Trial: Time of trial oct 4, 2023 9am-5pm                   AF    8.00      $150.00    $1,200.00

10/04/2023   Trial: Time of trial oct 4, 2023 9am-5pm                   RJS   8.00      $250.00    $2,000.00

10/04/2023   Travel: From the court house to the hotel oct 4, 2023      AJB   0.25      $500.00     $125.00

10/04/2023   Travel: From the court house to the hotel oct 4, 2023      AF    0.25      $150.00       $37.50

10/04/2023   Travel: From the court house to the hotel oct 4, 2023      RJS   0.25      $250.00       $62.50

10/04/2023   Preparation: prep after trial 5:15pm-10pm oct 4, 2023      AJB   4.75      $500.00    $2,375.00

10/04/2023   Preparation: prep after trial 5:15pm-10pm oct 4, 2023      RJS   4.75      $250.00    $1,187.50

10/04/2023   Preparation: prep after trial 5:15pm-10pm oct 4, 2023      RJS   4.75      $250.00    $1,187.50

10/04/2023   e-mail: Corresponded with counsel concerning exhibits      RJS   0.30      $250.00       $75.00
             x3

10/04/2023   e-mail: Corresponded with Schaeffer concerning             RJS   0.10      $250.00       $25.00
             subpoena

10/04/2023   e-mail: Corresponded with AB and AF concerning EBT         RJS   0.20      $250.00       $50.00
             designations

10/04/2023   e-mail: Corresponded with PM concerning service of         RJS   0.10      $250.00       $25.00
             subpoena

10/04/2023   e-mail: Corresponded with Schaeffer concerning             RJS   0.25      $250.00       $62.50
             subpoena x2

10/04/2023   e-mail: Corresponded with counsel and court                RJS   0.25      $250.00       $62.50
             concerning witness x3

10/04/2023   E110 Out-of-town travel: parking 10.4.23                   AJB   1.00        $16.60      $16.60

10/05/2023   Preparation: Preparation before trial oct 5, 2023          AJB   2.00      $500.00    $1,000.00

10/05/2023   Preparation: Preparation before trial oct 5, 2023          AF    2.00      $150.00     $300.00

10/05/2023   Preparation: Preparation before trial oct 5, 2023          RJS   2.00      $250.00     $500.00

10/05/2023   Travel: Travel to court house oct 5, 2023                  AJB   0.25      $500.00     $125.00




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10/05/2023   Travel: Travel to court house oct 5, 2023                    AF    0.25      $150.00       $37.50

10/05/2023   Travel: Travel to court house oct 5, 2023                    RJS   0.25      $250.00       $62.50

10/05/2023   Meeting: Conferring with client in advance of trial oct 5,   AJB   0.50      $500.00     $250.00
             2023

10/05/2023   Meeting: Conferring with client in advance of trial oct 5,   AF    0.50      $150.00       $75.00
             2023

10/05/2023   Meeting: Conferring with client in advance of trial oct 5,   RJS   0.50      $250.00     $125.00
             2023

10/05/2023   Trial: trial time oct 5, 2023                                AJB   8.00      $500.00    $4,000.00

10/05/2023   Trial: trial time oct 5, 2023                                AF    8.00      $150.00    $1,200.00

10/05/2023   Trial: trial time oct 5, 2023                                RJS   8.00      $250.00    $2,000.00

10/05/2023   Travel: Trial: From Buffalo court house to office oct 5,     AJB   3.50      $500.00    $1,750.00
             2023

10/05/2023   Travel: Trial: From Buffalo court house to office oct 5,     AF    3.50      $150.00     $525.00
             2023

10/05/2023   Travel: Trial: from Buffalo court house to office oct 5,     RJS   3.50      $250.00     $875.00
             2023

10/05/2023   e-mail: Corresponded with Schaeffer concerning               RJS   0.10      $250.00       $25.00
             subpoena

10/05/2023   e-mail: Corresponded with staff concerning NYSED             RJS   0.10      $250.00       $25.00
             records

10/05/2023   e-mail: Corresponded with court concerning exhibits          RJS   0.10      $250.00       $25.00

10/05/2023   e-mail: Corresponded with staff concerning NYSP              RJS   0.10      $250.00       $25.00
             records

10/05/2023   E110 Out-of-town travel: parking 10.5.23                     AJB   1.00        $15.60      $15.60

10/05/2023   E111 Meals: meals 10.5.23                                    AJB   1.00        $55.20      $55.20

10/05/2023   Travel: AJ Travel from Buffalo                               AJB   3.50      $500.00    $1,750.00

10/05/2023   Travel: Anthony Travel from Buffalo                          AF    3.50      $150.00     $525.00

10/05/2023   Travel: Rob Travel from Buffalo                              RJS   3.50      $250.00     $875.00

10/05/2023   Mileage: Travel from Buffalo                                 AF    1.00      $254.60     $254.60

10/06/2023   Preparation: Trial prep October 6, 2023                      AJB   4.75      $500.00    $2,375.00

10/06/2023   Preparation: Trial prep October 6, 2023                      AF    4.75      $150.00     $712.50

10/06/2023   Preparation: Trial prep October 6, 2023                      RJS   4.75      $250.00    $1,187.50

10/06/2023   e-mail: Corresponded with staff concerning subpoena          RJS   0.25      $250.00       $62.50
             response from NYSED and review of same




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10/06/2023   E110 Out-of-town travel: Hotel rm 1 10.1.23 - 10.6.23       AJB   1.00    $1,119.27    $1,119.27

10/06/2023   E110 Out-of-town travel: Hotel rm 2 10.1.23 - 10.6.23       AJB   1.00    $1,119.27    $1,119.27

10/09/2023   Preparation: preparation at office for trial oct 9, 2023    AJB   4.00      $500.00    $2,000.00

10/09/2023   Preparation: preparation at office for trial oct 9, 2023    AF    4.00      $150.00     $600.00

10/09/2023   Preparation: preparation at office for trial oct 9, 2023    RJS   4.00      $250.00    $1,000.00

10/09/2023   Travel: Travel to buffalo from office oct 9, 2023           AJB   3.50      $500.00    $1,750.00

10/09/2023   Travel: Travel to buffalo from office oct 9, 2023           AF    3.50      $150.00     $525.00

10/09/2023   Travel: Travel to buffalo from office oct 9, 2023           RJS   3.50      $250.00     $875.00

10/09/2023   E101 Copying: paper                                         AJB   1.00        $10.82      $10.82

10/09/2023   Mileage: Travel to Buffalo                                  AF    1.00      $254.60     $254.60

10/10/2023   Preparation: trial prep before court                        AJB   2.00      $500.00    $1,000.00

10/10/2023   Travel: travel to court house oct 10, 2023                  AJB   0.25      $500.00     $125.00

10/10/2023   Travel: travel to court house oct 10, 2023                  AF    0.25      $150.00       $37.50

10/10/2023   Travel: travel to court house oct 10, 2023                  RJS   0.25      $250.00       $62.50

10/10/2023   Meeting: conferring with client before court oct 10, 2023   AJB   0.75      $500.00     $375.00

10/10/2023   Meeting: conferring with client before court oct 10, 2023   AF    0.75      $150.00     $112.50

10/10/2023   Meeting: conferring with client before court oct 10, 2023   RJS   0.75      $250.00     $187.50

10/10/2023   Trial: trial time oct 10, 2023                              AJB   7.40      $500.00    $3,700.00

10/10/2023   Trial: trial time oct 10, 2023                              AF    7.40      $150.00    $1,110.00

10/10/2023   Trial: trial time oct 10, 2023                              RJS   7.40      $250.00    $1,850.00

10/10/2023   Travel: from court house to hotel oct 10, 2023              AJB   0.25      $500.00     $125.00

10/10/2023   Travel: from court house to hotel oct 10, 2023              AF    0.25      $150.00       $37.50

10/10/2023   Travel: from court house to hotel oct 10, 2023              RJS   0.25      $250.00       $62.50

10/10/2023   Preparation: Prep after trial oct 10, 2023                  AJB   4.00      $500.00    $2,000.00

10/10/2023   Preparation: Prep after trial oct 10, 2023                  AF    4.00      $150.00     $600.00

10/10/2023   Preparation: Prep after trial oct 10, 2023                  RJS   4.00      $250.00    $1,000.00

10/10/2023   e-mail: Corresponded with staff concerning incident         RJS   0.20      $250.00       $50.00
             report and review of same

10/10/2023   e-mail: Corresponded with court concerning draft jury       RJS   0.35      $250.00       $87.50
             charges and review of same

10/10/2023   e-mail: Corresponded with court concerning witnesses        RJS   0.20      $250.00       $50.00




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             x2

10/10/2023   E110 Out-of-town travel: parking                            AJB   1.00        $16.60      $16.60

10/10/2023   E111 Meals: meals 10.10.23                                  AJB   1.00      $100.00     $100.00

10/11/2023   Preparation: prep before trial oct 11, 2023                 AJB   2.00      $500.00    $1,000.00

10/11/2023   Preparation: prep before trial oct 11, 2023                 AF    2.00      $150.00     $300.00

10/11/2023   Preparation: prep before trial oct 11, 2023                 RJS   2.00      $250.00     $500.00

10/11/2023   Travel: travel to court from hotel oct 11, 2023             AJB   0.25      $500.00     $125.00

10/11/2023   Travel: travel to court from hotel oct 11, 2023             AF    0.25      $150.00       $37.50

10/11/2023   Travel: travel to court from hotel oct 11, 2023             RJS   0.25      $250.00       $62.50

10/11/2023   Meeting: conferring with client before trial oct 11, 2023   AJB   0.50      $500.00     $250.00

10/11/2023   Meeting: conferring with client before trial oct 11, 2023   AF    0.50      $150.00       $75.00

10/11/2023   Meeting: conferring with client before trial oct 11, 2023   RJS   0.50      $250.00     $125.00

10/11/2023   Trial: trial time oct,11,2023                               AJB   6.00      $500.00    $3,000.00

10/11/2023   Trial: trial time oct,11,2023                               AF    6.00      $150.00     $900.00

10/11/2023   Trial: trial time oct,11,2023                               RJS   6.00      $250.00    $1,500.00

10/11/2023   Travel: travel from court to hotel oct 11, 2023             AJB   0.25      $500.00     $125.00

10/11/2023   Travel: travel from court to hotel oct 11, 2023             AF    0.25      $150.00       $37.50

10/11/2023   Travel: travel from court to hotel oct 11, 2023             RJS   0.25      $250.00       $62.50

10/11/2023   Preparation: prep after trial oct 11, 2023                  AJB   4.00      $500.00    $2,000.00

10/11/2023   Preparation: prep after trial oct 11, 2023                  AF    4.00      $150.00     $600.00

10/11/2023   Preparation: prep after trial oct 11, 2023                  RJS   4.00      $250.00    $1,000.00

10/11/2023   e-mail: Corresponded with Schaeffer concerning              RJS   0.25      $250.00       $62.50
             subpoena response x2

10/11/2023   Parking: parking 10.11.23                                   AJB   1.00        $16.60      $16.60

10/11/2023   E111 Meals: meals for 10.11.23                              AJB   1.00        $41.65      $41.65

10/12/2023   oct 12, 2023 trial prep before trial                        AJB   2.00      $500.00    $1,000.00

10/12/2023   Preparation: oct 12, 2023 trial prep before trial           AF    2.00      $150.00     $300.00

10/12/2023   Preparation: oct 12, 2023 trial prep before trial           RJS   2.00      $250.00     $500.00

10/12/2023   Travel: travel to court house oct 12, 2023                  AJB   0.25      $500.00     $125.00

10/12/2023   Travel: travel to court house oct 12, 2023                  AF    0.25      $150.00       $37.50




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10/12/2023   Travel: travel to court house oct 12, 2023                  RJS   0.25      $250.00       $62.50

10/12/2023   Meeting: conferring with client before trial oct 12, 2023   AJB   0.50      $500.00     $250.00

10/12/2023   Meeting: conferring with client before trial oct 12, 2023   AF    0.50      $150.00       $75.00

10/12/2023   Meeting: conferring with client before trial oct 12, 2023   RJS   0.50      $250.00     $125.00

10/12/2023   Trial: trial time 9am-5pm oct 12, 2023                      AJB   8.00      $500.00    $4,000.00

10/12/2023   Trial: trial time 9am-5pm oct 12, 2023                      AF    8.00      $150.00    $1,200.00

10/12/2023   Trial: trial time 9am-5pm oct 12, 2023                      RJS   8.00      $250.00    $2,000.00

10/12/2023   Travel: from court house to hotel oct 12, 2023              AJB   0.25      $500.00     $125.00

10/12/2023   Travel: from court house to hotel oct 12, 2023              AF    0.25      $150.00       $37.50

10/12/2023   Travel: from court house to hotel oct 12, 2023              RJS   0.25      $250.00       $62.50

10/12/2023   Preparation: after trial prep oct 12, 2023                  AJB   4.00      $500.00    $2,000.00

10/12/2023   Preparation: after trial prep oct 12, 2023                  AF    4.00      $150.00     $600.00

10/12/2023   Preparation: after trial prep oct 12, 2023                  RJS   4.00      $250.00    $1,000.00

10/12/2023   E110 Out-of-town travel: parking 10.12.23                   AJB   1.00        $16.60      $16.60

10/13/2023   Preparation: prep before trial oct 13, 2023                 AJB   2.00      $500.00    $1,000.00

10/13/2023   Preparation: prep before trial oct 13, 2023                 AF    2.00      $150.00     $300.00

10/13/2023   Preparation: prep before trial oct 13, 2023                 RJS   2.00      $250.00     $500.00

10/13/2023   Travel: travel to court oct 13, 2023                        AJB   0.25      $500.00     $125.00

10/13/2023   Travel: travel to court oct 13, 2023                        AF    0.25      $150.00       $37.50

10/13/2023   Travel: travel to court oct 13, 2023                        RJS   0.25      $250.00       $62.50

10/13/2023   Meeting: Conferred with Clients before trial October 13,    AJB   0.75      $500.00     $375.00
             2023

10/13/2023   Meeting: conferring with client before trial oct 13, 2023   AF    0.75      $150.00     $112.50

10/13/2023   Meeting: conferring with client before trial oct 13, 2023   RJS   0.75      $250.00     $187.50

10/13/2023   Trial: Trial time oct 13, 2023 9am-5pm                      AJB   8.00      $500.00    $4,000.00

10/13/2023   Trial: trial time oct 13, 2023 9am-5pm                      AF    8.00      $150.00    $1,200.00

10/13/2023   Trial: trial time oct 13, 2023 9am-5pm                      RJS   8.00      $250.00    $2,000.00

10/13/2023   Travel: Trial: from buffalo to office oct 13, 2023          AJB   3.25      $500.00    $1,625.00

10/13/2023   Travel: Trial: From buffalo to office oct 13, 2023          AF    3.25      $150.00     $487.50

10/13/2023   Travel: From Buffalo to office oct 13, 2023                 RJS   3.25      $250.00     $812.50




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10/13/2023   E110 Out-of-town travel: Hotel costs 1 room 10-9-23 -       AJB   1.00      $667.44     $667.44
             10.13.23

10/13/2023   E110 Out-of-town travel: 2d room 10.9.23 - 10.13.23         AJB   1.00      $711.36     $711.36

10/13/2023   E110 Out-of-town travel: parking 10.13.23                   AJB   1.00        $16.60      $16.60

10/13/2023   E110 Out-of-town travel: parking 10.13.23 2d car            AJB   1.00        $16.60      $16.60

10/13/2023   Received and reviewed Court's correspondence                AF    1.25      $150.00     $187.50
             concerning juror; Conferred with principal attorney
             regarding same; Participated in evening conference
             with Clients to address same; Drafted correspondence
             to Court conveying Plaintiffs' position

10/13/2023   Conferred with paralegal regarding correspondence           AJB   1.00      $500.00     $500.00
             from the Court concerning a juror; Participated in
             evening conference with Clients to address same

10/13/2023   Travel: Trial: From Buffalo court house to office October   AJB   3.50      $500.00    $1,750.00
             13, 2023

10/13/2023   Travel: Trial: From Buffalo court house to office October   AF    3.50      $150.00     $525.00
             13, 2023

10/13/2023   Travel: Trial: from Buffalo court house to office October   RJS   3.50      $250.00     $875.00
             13, 2023

10/13/2023   Mileage: Travel from Buffalo                                AF    1.00      $254.60     $254.60

10/13/2023   Travel: AJ Travel from Buffalo                              AJB   3.50      $500.00    $1,750.00

10/13/2023   Travel: Anthony Travel from Buffalo                         AF    3.50      $150.00     $525.00

10/13/2023   Travel: Rob Travel from Buffalo                             RJS   3.50      $250.00     $875.00

10/16/2023   Travel: From office to buffalo back to court oct 16, 2023   AJB   3.50      $500.00    $1,750.00

10/16/2023   Travel: Form office to buffalo back to court oct 16, 2023   AF    3.50      $150.00     $525.00

10/16/2023   Travel: From office to buffalo back to court oct 16, 2023   RJS   3.50      $250.00     $875.00

10/16/2023   Meeting: Confering with clients before trial oct 16, 2023   AJB   0.75      $500.00     $375.00

10/16/2023   Meeting: Confering with clients before trial oct 16, 2023   AF    0.75      $150.00     $112.50

10/16/2023   Meeting: Confering with clients before trial oct 16, 2023   RJS   0.75      $250.00     $187.50

10/16/2023   Trial: trial time oct 16, 2023                              AJB   6.67      $500.00    $3,335.00

10/16/2023   Trial: trial time oct 16, 2023                              AF    6.67      $150.00    $1,000.50

10/16/2023   Trial: Trial time oct 16, 2023                              RJS   6.67      $250.00    $1,667.50

10/16/2023   E110 Out-of-town travel: parking 10.16.23                   AJB   1.00        $16.30      $16.30

10/16/2023   Travel: Trial: From Buffalo court house to office October   AJB   3.50      $500.00    $1,750.00
             16, 2023




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10/16/2023   Travel: Trial: From Buffalo court house to office October     AF    3.50      $150.00     $525.00
             1, 2023

10/16/2023   Travel: Trial: from Buffalo court house to office October     RJS   3.50      $250.00     $875.00
             16, 2023

10/16/2023   Mileage: Travel to and from Buffalo                           AF    1.00      $509.20     $509.20

10/16/2023   Travel: AJ Travel to and from Buffalo                         AJB   7.00      $500.00    $3,500.00

10/16/2023   Travel: Anthony Travel to and from Buffalo                    AF    7.00      $150.00    $1,050.00

10/16/2023   Travel: Rob Travel to and from Buffalo                        RJS   7.00      $250.00    $1,750.00

10/25/2023   Conferred with principal attorney regarding deadline for      AF    0.50      $150.00       $75.00
             Plaintiffs to file a motion for attorneys fees; Drafted and
             revised letter to Court addressing said motion

10/25/2023   Conferred with paralegal regarding deadline for               AJB   0.25      $500.00     $125.00
             Plaintiffs to file a motion for attorneys fees; Revised
             letter to Court addressing said motion

10/26/2023   e-mail: Corresponded with counsel concerning fee              RJS   0.20      $250.00       $50.00
             application extension x2

11/16/2023   e-mail: Corresponded with court concerning                    RJS   0.80      $250.00     $200.00
             teleconference x9

11/16/2023   Received and reviewed Defendants' post-trial motion           AF    1.50      $150.00     $225.00
             for judgment as a matter of law or a new trial, Notice of
             Appeal, and motion for stay; Conferred with associate
             attorney regarding same; Documented case file

11/16/2023   Received and reviewed Defendants' post-trial motion           RJS   1.75      $250.00     $437.50
             for judgment as a matter of law or a new trial, Notice of
             Appeal, and motion for stay; Conferred with paralegal
             regarding same; Conferenced with Court

11/20/2023   e-mail: Corresponded with counsel concerning briefing         RJS   0.25      $250.00       $62.50
             schedule x2

12/22/2023   Review: Document: 2023-12-15 028 NOTICE OF                    AJB   1.50      $500.00     $750.00
             MOTION W-SUPPORTING DOCUMENTS INCLUDING
             EXHIBIT(S).pdf and cases cited therein

12/26/2023   Reviewed and analyzed Defendants' motion for                  AF    2.75      $150.00     $412.50
             judgment as a matter of law or a new trial; Conducted
             legal research into the legal authority cited by
             Defendants in their Memorandum of Law

12/27/2023   Conferred with associate attorney regarding                   AF    5.50      $150.00     $825.00
             Defendants' motion for judgment as a matter of law or a
             new trial; Conducted legal research concerning the
             issues raised in Defendants' motion; Began preparing
             Plaintiff's opposition memorandum of law, those
             sections addressing the applicable legal standard, the
             absence of a trial transcript, and that the jury correctly
             found that Gregory Spring was discriminated against




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             based on disability

12/27/2023   Conferred with paralegal regarding Defendants' motion       RJS   4.00      $250.00    $1,000.00
             for judgment as a matter of law or a new trial; Analyzed
             Defendants' motion and conducted legal research
             concerning the cases cited by Defendants and the
             issues raised in Defendants' motion

12/28/2023   Continued preparing Plaintiff's opposition memorandum       AF    3.75      $150.00     $562.50
             of law, those sections addressing the applicable legal
             standard, the absence of a trial transcript, and that the
             jury correctly found that Gregory Spring was
             discriminated against based on disability

12/28/2023   Began preparing Plaintiff's opposition memorandum of        RJS   4.50      $250.00    $1,125.00
             law, those sections addressing the the jury's
             determination that Gregory Spring was disabled and
             that Defendants are not entitled to a new trial based on
             admission of alleged hearsay evidence

12/28/2023   Continued preparing Plaintiff's opposition memorandum       RJS   6.50      $250.00    $1,625.00
             of law, those sections addressing the the jury's
             determination that Gregory Spring was disabled and
             that Defendants are not entitled to a new trial based on
             admission of alleged hearsay evidence; Conferred with
             principal attorney and paralegal regarding same

12/29/2023   e-mail: Corresponded with AF concerning JMOL                RJS   0.20      $250.00       $50.00
             response additions

12/29/2023   Conferred with principal attorney and associate             AF    7.50      $150.00    $1,125.00
             attorney regarding Plaintiff's opposition to Defendants'
             post-trial motion; Revised Plaintiff's Memorandum of
             Law to incorporate changes made by principal attorney;
             Drafted attorney affirmation and assembled exhibits;
             Finalized Plaintiff's opposition papers and tended to the
             filing of same

12/29/2023   Conferred with associate attorney and paralegal             AJB   3.50      $500.00    $1,750.00
             attorney regarding Plaintiff's opposition to Defendants'
             post-trial motion; Revised Plaintiff's Memorandum of
             Law

01/08/2024   Phone Call: with client                                     AJB   0.04      $500.00       $20.00

01/08/2024   e-mail: email from client re media contact                  AJB   0.20      $500.00     $100.00

01/08/2024   e-mail: email from Rob re post trial motion papers,         AJB   0.20      $500.00     $100.00
             FWD to client with attachments

01/08/2024   e-mail: bullying case in MD, wrongful death suit            AJB   0.10      $500.00       $50.00

01/08/2024   e-mail: Corresponded with client concerning post trial      RJS   0.20      $250.00       $50.00
             motions

01/08/2024   e-mail: Corresponded with client concerning motion          RJS   0.10      $250.00       $25.00

01/16/2024   Review: Receipt and Review of Defendants' Reply re          RJS   0.60      $250.00     $150.00




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             Post Trial motion

02/02/2024   e-mail: Corresponded with court concerning briefing        RJS         0.10      $250.00       $25.00
             schedule

02/05/2024   e-mail: Corresponded with court concerning briefing        RJS         0.10      $250.00       $25.00
             unavailability

02/07/2024   e-mail: Corresponded with client concerning                RJS         0.10      $250.00       $25.00
             Defendants' motion

02/08/2024   e-mail: Corresponded with client concerning                RJS         0.10      $250.00       $25.00
             Defendants' motion

02/15/2024   Phone Call: PC client re: status                           AJB         0.10      $500.00       $50.00

02/22/2024   Phone Call: Call to client re motions                      AJB         0.04      $500.00       $20.00

02/27/2024   Phone Call: Call from client re: witness                   AJB         0.05      $500.00       $25.00

02/28/2024   e-mail: Corresponded with counsel concerning               RJS         0.25      $250.00       $62.50
             settlement

03/08/2024   Phone Call                                                 AJB         0.20      $500.00     $100.00

03/13/2024   e-mail: Corresponded with counsel concerning               RJS         0.20      $250.00       $50.00
             settlement x2



        Time Keeper                           Position                Quantity       Rate               Total

AJ Bosman                         Senior Attorney                         513.32       $500.00        $256,660.00

Rob Strum                         Associate Attorney                      356.77       $250.00          $89,192.50

Anthony Fernicola                 Paralegal                               583.32       $150.00          $87,498.00

                                                                                            Total     $451,688.94




Detailed Statement of Account

Current Invoice

     Invoice Number              Due On             Amount Due          Payments Received           Balance Due

71                           05/29/2024                 $451,688.94                         $0.00     $451,688.94

                                                                           Outstanding Balance        $451,688.94

                                                                      Total Amount Outstanding        $451,688.94




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Please make all amounts payable to: Bosman Law, LLC

Please pay within 30 days.




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Remittance Advice

Checking Information

 Remit checks to:   Bosman Law, LLC
                    3000 McConnellville Road
                    Blossvale, New York 13308

Please include the case name and invoice number 71 as an additional reference so we may accurately identify and
apply your payment.




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